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                       IN THE UNITED STATES BANKRUPTCY COURT
                           FOR EASTERN DISTRICT OF VIRGINIA
                                  RICHMOND DIVISION

                                                               )
In re:                                                         )       Chapter 11
                                                               )
GYMBOREE GROUP, INC., et al., 1                                )       Case No. 19-30258 (KLP)
                                                               )
Debtors.                                                       )       (Joint Administration Requested)
                                                               )
                                                               )

                DEBTORS’ MOTION FOR ENTRY OF ORDERS
  (I)(A) APPROVING BIDDING PROCEDURES, (B) APPROVING J&J STALKING
     HORSE PURCHASE AGREEMENT, (C) SCHEDULING AN AUCTION AND
   APPROVING FORM AND MANNER OF NOTICE THEREOF, (D) APPROVING
 ASSUMPTION AND ASSIGNMENT PROCEDURES AND (E) SCHEDULING THE
    SALE HEARING; (II) APPROVING (A) THE SALE(S), FREE AND CLEAR OF
 ENCUMBRANCES AND (B) ASSUMPTION AND ASSIGNMENT OF EXECUTORY
CONTRACTS AND UNEXPIRED LEASES; AND (III) GRANTING RELATED RELIEF

         The above-captioned debtors in possession (collectively, the “Debtors”) respectfully

move for entry of an order, substantially in the form attached hereto as Exhibit A (the “Bidding

Procedures Order”): (i) approving the proposed procedures to be used in connection with the

sale(s) (the “Sale(s)”) of the Debtors’ assets (the “Assets”) attached as Exhibit 1 to the Bidding

1
         The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
         number, are: Gymboree Group, Inc. (6587); Gymboree Intermediate Corporation (1473); Gymboree
         Holding Corporation (0315); Gymboree Wholesale, Inc. (6588); Gym-Mark, Inc. (6459); Gymboree
         Operations, Inc. (6463); Gymboree Distribution, Inc. (8669); Gymboree Manufacturing, Inc. (6464);
         Gymboree Retail Stores, LLC (6461); Gym-Card, LLC (5720); and Gymboree Island, LLC (1215). The
         Debtors’ service address is 71 Stevenson Street, Suite 2200, San Francisco, California 94105.
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Procedures Order (the “Bidding Procedures”); (ii) authorizing the Debtors to enter into a

“stalking horse” agreement (the “J&J Stalking Horse Agreement”) with Special Situations

Investment Group, Inc. (together with any permitted assigns, the “J&J Stalking Horse Bidder”)

for the sale of the SSIG Assets (as defined below); (iii) authorizing the Debtors to enter into one

or more additional “stalking horse” agreements (together with the J&J Stalking Horse

Agreement, the “Stalking Horse Agreements”) for any subset of Assets other than the SSIG

Assets and to seek expedited approval thereof; (iv) scheduling an auction (the “Auction”) and a

final hearing for approval of the Sale(s) (the “Sale Hearing”); (v) approving the form and manner

of notice of the Bidding Procedures, the Auction, and the Sale Hearing; (vi) authorizing certain

procedures related to the assumption by the Debtors and assignment to the Successful Bidder(s)

(as defined below) of executory contracts and unexpired leases in connection with any Sale (the

“Assumption and Assignment Procedures”); and (vii) granting certain related relief.

       The Debtors also seek entry of one or more orders, substantially in the form attached

hereto as Exhibit B (the “Sale Order(s)”): (i) authorizing the Sale(s) to one or more Successful

Bidder(s), free and clear of all liens, claims, interests and encumbrances (collectively, the

“Encumbrances”); (ii) authorizing the assumption and assignment of executory contracts and

unexpired leases in connection therewith; and (iii) granting certain related relief.

       In support of this Motion, the Debtors submit the Declaration of Stephen Coulombe,

Chief Restructuring Officer of Gymboree Group, Inc., in Support of Chapter 11 Petitions and

First Day Motions (the “First Day Declaration”) 2 and the Declaration of James Doak attached

hereto as Exhibit C (the “Doak Declaration”) and respectfully represent as follows:



2
       On June 12, 2017, the Debtors’ predecessors in interest commenced chapter 11 cases (the “Prior Cases”)
       before the Court, which were jointly administered under the caption In re The Gymboree Corp.,
       No. 17-32986 (KLP). A plan of reorganization was confirmed in the Prior Cases on September 7, 2017,
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                                               Background

       1.      The Debtors are specialty retailers, operating stores selling high-quality clothing

and accessories for children. The Debtors’ family of brands consists of Gymboree®, Janie and

Jack®, and Crazy 8®. The Debtors currently operate over 900 retail stores, each dedicated to

one of their brands, in the United States and Canada, with online stores for each brand and

franchises around the world.

       2.      On the date hereof (the “Petition Date”), the Debtors commenced these cases by

filing voluntary petitions for relief under chapter 11 of title 11 of the United States Code, 11

U.S.C. §§ 101-1532 (as amended, the “Bankruptcy Code”). The Debtors are authorized to

continue to operate their business and manage their properties as debtors in possession pursuant

to sections 1107(a) and 1108 of the Bankruptcy Code.

       3.      The Debtors have requested that their cases be consolidated for procedural

purposes only and administered jointly. No request for the appointment of a trustee or examiner

has been made and no official committee of unsecured creditors has yet been appointed.

       4.      Prior to the Petition Date, the Debtors, together with their investment bankers

Miller Buckfire & Co., LLC (“Miller Buckfire”) and Stifel, Nicolaus & Co., Inc. (collectively,

“Stifel”), engaged in discussions with a number of potentially interested parties regarding the

purchase of some or all of the Assets.           See Doak Decl. ¶ 17.          As set forth in the Doak

Declaration, Stifel solicited interest in each Brand, prepared and distributed distinct marketing

materials for each Brand. Id. ¶ 20. Stifel will continue their marketing efforts to ensure that the

Sale(s) yield the best possible result for the Debtors’ estates. Id. ¶ 18.




       and such plan became effective on September 29, 2017. On January 19, 2018, all of the Prior Cases, other
       than the case of The Gymboree Corp., were closed.
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                                     Jurisdiction and Venue

       5.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

and 1334 and the Standing Order of Reference from the United States District Court for the

Eastern District of Virginia, dated July 10, 1984. Venue is proper pursuant to 28 U.S.C. §§ 1408

and 1409.

       6.      The bases for the relief requested herein are sections 105, 363, and 365 of the

Bankruptcy Code, rules 2002, 6004, and 6006 of the Federal Rules of Bankruptcy Procedure (as

amended, the “Bankruptcy Rules”), and rules 2002-1 and 6004-2 of the Local Rules of the

United States Bankruptcy Court for the Eastern District of Virginia (as amended, the “Local

Bankruptcy Rules”).

       7.      The Debtors consent to the entry of a final order by the Court in connection with

this Motion to the extent that it is later determined that the Court, absent consent of the parties,

cannot enter final orders or judgments in connection herewith consistent with Article III of the

United States Constitution.

                                        Relief Requested

       8.      By this Motion, the Debtors seek the following relief:

               (a)     Entry of the Bidding Procedures Order:

                       (i)     approving the Bidding Procedures substantially in the form
                               attached as Exhibit 1 to the Bidding Procedures Order;

                       (ii)    approving entry into the J&J Stalking Horse Agreement;

                       (iii)   scheduling the Auction for February 25, 2019, at a time to be
                               determined;

                       (iv)    authorizing and approving (A) notice, substantially in the form
                               attached to the Bidding Procedures Order as Exhibit 2 (the
                               “Potential Assumption and Assignment Notice”), to each non-
                               Debtor counterparty (each, a “Counterparty”) to an executory
                               contract (an “Executory Contract”) or unexpired lease (each, an
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                                     “Unexpired Lease”) that the Debtors reasonably believe may be
                                     transferred as part of the Sale(s) (collectively, such Executory
                                     Contracts and Unexpired Leases, the “Contracts”), as well as of the
                                     proposed respective cure amounts (the “Cure Costs”),
                                     (B) procedures and deadlines for asserting related objections, and
                                     (C) the Assumption and Assignment Procedures;

                        (v)          authorizing and approving the notice of the Auction and the Sale
                                     Hearing, substantially in the form attached to the Bidding
                                     Procedures Order as Exhibit 3 (the “Sale Notice”), including the
                                     publication of an abridged form of the Sale Notice in the Wall
                                     Street Journal and, in the Debtors’ discretion, any appropriate
                                     local or trade publication (the “Publication Notice”); and

                        (vi)         scheduling the Sale Hearing for March 4, 2019, subject to the
                                     availability of the Court.

                 (b)    Entry of the Sale Order(s):

                        (i)          authorizing the Sale(s) of the Assets, free and clear of all
                                     Encumbrances;

                        (ii)         authorizing the assumption and assignment of the Proposed
                                     Assumed Contracts (as defined below); and

                        (iii)        granting certain related relief.

                                             Bidding Procedures

A.     Overview

       9.        The Bidding Procedures are intended to ensure a fair, expeditious, and

competitive sale process. Because the Bidding Procedures are attached to the proposed Bidding

Procedures Order, they are not stated herein in their entirety. 3 However, certain key terms of the

Bidding Procedures are highlighted below:

                               The Assets subject to the Bidding Procedures are:
        Assets                   •      The SSIG Assets
                                 •      All other Assets or any subset thereof (including any one or

3
       This summary is qualified by the provisions of the Bidding Procedures and the Bidding Procedures Order.
       Any capitalized terms not otherwise defined in this summary have the respective meanings ascribed to
       them in the Bidding Procedures.
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                              more Unexpired Lease(s))

                     Written preliminary indications of interest (each, a “Proposal”) are to
 Proposal Deadline   be submitted no later than January 25, 2019 at 5:00 p.m. (prevailing
                     Eastern Time) (the “Proposal Deadline”).

                     Proposals must contain the following information:
     Proposal           •     Identity of Purchaser and its Affiliates: A Proposal must
   Requirements               specify the identity of the legal entity that would acquire the
                              specified Assets, the ultimate holding company, the identity of
                              all key shareholders and any relevant history and/or experience
                              in the industry. A Proposal must disclose whether the
                              prospective interested party or any of its representatives has, or
                              within the last 24 months had, any commercial relationship or
                              dealings with the Debtors or any of their directors or officers or
                              any of the Debtors’ prepetition secured lenders, and, if so,
                              describe in reasonable detail such relationship and/or dealings.
                        •     Proposed Transaction: A Proposal must include the terms of
                              the proposed transaction, including, but not limited to:
                              o identification of all Assets included in the proposed Sale;
                              o total purchase price (and its Allocation (as defined below))
                                and form of consideration; provided, however, that no
                                Allocation is required for a Proposal that constitutes a
                                “credit bid” under section 363(k) of the Bankruptcy Code
                                (each, a “Credit Bid”), except to the extent that such
                                Proposal covers any Assets that are subject to another
                                party’s valid and perfected senior lien, in which case the
                                Proposal must identify the means of satisfying the
                                obligations of such secured party;
                              o structure, terms and conditions of the proposed transaction;
                              o evidence of financial wherewithal to close the proposed
                                Sale; and
                              o other economic matters to the extent material to the
                                proposed transaction.
                        •     Due Diligence: A Proposal must include a description of the
                              due diligence the prospective purchaser needs to conduct,
                              including a list of any due diligence items it needs to review or
                              confirm in order to enter into a definitive agreement.
                        •     Material Conditions: A Proposal must list any other material
                              conditions to which the consummation of the proposed Sale
                              would be subject.
                        •     Sources of Financing: A Proposal must include an indication of
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                               expected sources of funds (including the amounts of debt and
                               equity financing necessary, together with the indications from
                               any third party sources of their commitment to provide such
                               financing) and the steps required (and anticipated timing) to
                               obtain definitive funding commitments. If the proposed
                               purchaser is a newly formed entity, the Proposal must identify
                               the entity or entities that will provide a guarantee, an equity
                               commitment letter, or any other credit support, and describe the
                               nature of any such support.
                         •     Required Approvals & Timing: A Proposal must include a
                               description of the level of review, authorization and approval
                               within the proposed purchaser’s organization that the potential
                               Sale has received to date and an indication of any anticipated
                               need (and associated timing) for further authorization, approvals
                               and waivers and any other material conditions or time
                               constraints related to closing.

                      To be eligible to participate in the bidding process, any interested party
     Diligence        (each, a “Prospective Bidder”) must first deliver to the Debtors (i) an
                      executed confidentiality agreement, in form and substance satisfactory
                      to the Debtors, (ii) a statement and other factual support demonstrating
                      to the Debtors’ reasonable satisfaction that the Prospective Bidder has a
                      bona fide interest in purchasing the specified Assets, and
                      (iii) preliminary proof of the Prospective Bidder’s financial capacity to
                      close the proposed Sale. Any Prospective Bidder determined to be
                      reasonably likely to be a Qualified Bidder, upon execution of a
                      confidentiality agreement, will be granted access to information
                      regarding the relevant Assets. The Debtors will be entitled to revoke
                      due diligence access to any Prospective Bidder that fails to become a
                      Qualified Bidder.

                      Any Prospective Bidder that wishes to participate in the Auction must
                      submit its final, binding bid on the applicable Assets (a “Final Bid”) on
                      or before February 11, 2019 at 5:00 p.m. (prevailing Eastern Time)
 Final Bid Deadline   (the “Final Bid Deadline”) in writing to the Bid Notice Parties,
                      provided that the Debtors shall have the discretion to extend the Final
                      Bid Deadline for any Prospective Bidder. Any bid received after the
                      Final Bid Deadline will not constitute a Qualified Bid.

                      In order for a Final Bid to qualify as a “Qualified Bid” (and any bidder
                      that submits a Qualified Bid, a “Qualified Bidder”), the Final Bid must
                      satisfy the following requirements:
   Qualified Bid         •     Purchased Assets: The Final Bid must identify: (i) the Assets
   Requirements                to be purchased, including any Contracts to be assumed in
                               connection with the relevant Sale (the “Proposed Assumed
                               Contracts”); (ii) the liabilities, if any, to be assumed; (iii) the
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                             consideration offered (the “Purchase Price”); provided that, if
                             the Final Bid is for any Assets subject to one or more Stalking
                             Horse Agreement(s), (a) the bid must allocate the Purchase
                             Price among the Assets subject to each such Stalking Horse
                             Agreement (the “Allocation”) and (b) the Purchase Price must
                             exceed the applicable Stalking Horse Overbid(s) (as defined
                             below); (iv) the proposed form of adequate assurance of future
                             performance with respect to the Proposed Assumed Contracts;
                             (v) whether the Prospective Bidder intends to operate all or a
                             portion of the Debtors’ business as a going concern or to
                             liquidate the applicable Assets; and (vi) whether the Prospective
                             Bidder intends to offer future employment to any of the
                             Debtors’ employees.
                       •     Identification of Bidder: The Final Bid must fully disclose the
                             identity of each person or entity bidding for the applicable
                             Assets or sponsoring, financing (including through the issuance
                             of debt), or participating in such bid (including through license
                             or similar arrangement), and the complete terms of any such
                             arrangement, and must also disclose any past or present
                             connections or agreements with the Debtors, any Stalking Horse
                             Bidder(s), any other known Prospective Bidder or Qualified
                             Bidder, any officer or director of the foregoing, and any of the
                             Debtors’ prepetition secured lender.
                       •     Asset Purchase Agreement: The Final Bid must include (a) an
                             executed Asset Purchase Agreement based (i) with respect to
                             any Assets subject to a Stalking Horse Agreement, on such
                             Stalking Horse Agreement (including all exhibits and schedules
                             thereto) and (ii) with respect to any other Assets, on the form
                             asset purchase agreement provided by the Debtors (including all
                             exhibits and schedules thereto), (b) a proposed sale order based
                             (i) with respect to any Assets subject to a Stalking Horse
                             Agreement, on the sale order proposed by the relevant Stalking
                             Horse Bidder and (ii) with respect to any other Assets, on the
                             Sale Order, and (c) copies of the foregoing, marked to show any
                             proposed amendments and modifications to each.
                       •     Credit Bidding: Any bid may include a Credit Bid. A Credit
                             Bid may be applied only to the Assets in which the party
                             submitting the Credit Bid holds a validly perfected security
                             interest.
                       •     Financial Information: The Final Bid must include a statement
                             (i) representing that the Prospective Bidder is financially
                             capable of consummating the Sale contemplated by the
                             applicable Asset Purchase Agreement, together with the
                             Prospective Bidder’s audited financial statements for the prior
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                             two years and pro forma capital structure; and (ii) setting forth
                             in reasonable detail the proposed structure and material terms of
                             financing the proposed Sale.
                      •      Good Faith Deposit: Each Qualified Bid (including each
                             Qualified Bid that includes a Credit Bid other than the J&J
                             Stalking Horse Bid) must be accompanied by a good faith
                             deposit (the “Good Faith Deposit”) in the form of cash (or other
                             form acceptable to the Debtors in their sole and absolute
                             discretion) in an amount equal to 10% of the Purchase Price
                             (inclusive of any Credit Bid). All Good Faith Deposits shall be
                             held in escrow in a non-interest bearing account identified by
                             the Debtors until no later than five business days after the
                             conclusion of the Auction and thereafter returned to the
                             respective Qualified Bidders in accordance with the Bidding
                             Procedures, provided that the return of the Good Faith Deposit
                             of any Stalking Horse Bidder will be governed by the
                             applicable Stalking Horse Agreement; provided further,
                             however, that if a bidder is selected as the Successful Bidder or
                             a Backup Bidder, such bidder’s Good Faith Deposit will be (i)
                             in the case of the Backup Bidder, returned five business days
                             after the closing of the applicable Sale(s), and (ii) in the case of
                             the Successful Bidder, credited towards the Purchase Price.
                             The Debtors reserve the right to increase the Good Faith
                             Deposit in their sole reasonable discretion.
                      •      Adequate Assurance: The Final Bid must include evidence of
                             adequate assurance of the proposed purchaser’s ability to
                             perform future obligations under the Proposed Assumed
                             Contracts, in a form that will permit immediate dissemination
                             of such evidence to the applicable Counterparties.
                      •      Authorization: The Final Bid must include evidence of
                             authorization and approval from the bidder’s board of directors
                             (or comparable governing body) with respect to the Final Bid,
                             participation in the Auction and closing of the proposed Sale;
                             provided that, if the Prospective Bidder is an entity specially
                             formed for the purpose of purchasing the relevant Assets, the
                             Final Bid must provide written evidence acceptable to the
                             Debtors of the approval by the equity holder(s) of such
                             Prospective Bidder.
                      •      Other Requirements: A Qualified Bid must: (i) state that the
                             bid is not subject to or conditioned on any further due diligence
                             or financing contingencies of any kind; (ii) be irrevocable until
                             the selection of the Successful Bid; provided that, if the
                             Prospective Bidder is the Successful Bidder or Backup Bidder,
                             its bid must remain irrevocable until the earlier of (a) the
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                              consummation of the Sale(s) of the relevant Assets and (b)
                              60 days after the date of the Sale Hearing; (iii) if the bid is for
                              Assets subject to a Stalking Horse Agreement, state that the bid
                              is not subject to conditions more burdensome than those in such
                              Stalking Horse Agreement; (iv) state that the Prospective
                              Bidder is committed to closing the Sale contemplated by the bid
                              as soon as practicable; (v) unless otherwise approved by the
                              Court with respect to a particular Stalking Horse Bid, expressly
                              acknowledge that the Prospective Bidder is not entitled to any
                              bid protections; (vi) expressly waive any right to assert an
                              administrative expense claim for substantial contribution under
                              section 503(b) of the Bankruptcy Code in connection with
                              bidding on the applicable Assets and/or participating in the
                              Auction; (vii) not contain any condition to closing of the
                              proposed Sale on the receipt of any third party approvals
                              (excluding Court approval); (viii) state that the Prospective
                              Bidder agrees to serve as a Backup Bidder if such bidder’s
                              Qualified Bid is selected as the next highest or best bid after the
                              Successful Bid with respect to the applicable Assets;
                              (ix) include contact information for the specific person(s) the
                              Debtors should contact in the event they have any questions
                              about such Final Bid; (x) be received by the Bid Notice Parties
                              by the Final Bid Deadline; and (xi) certify that the Prospective
                              Bidder did not collude with any other bidder(s) and is not
                              otherwise a partnership, joint venture or another entity in which
                              more than one bidder (or any of its affiliates) has a direct or
                              indirect interest, unless consented to in writing by the Debtors.
                       •      The Debtors will make a determination regarding which Final
                              Bids qualify as Qualified Bids, if any, and notify Prospective
                              Bidders whether they have been selected as Qualified Bidders
                              prior to the Auction.

                     Other than any bid protections provided to Stalking Horse Bidder(s)
   Bid Protections   approved by the Court, no party submitting a Final Bid will be entitled
                     to a break-up fee, expense reimbursement, or any other bid protections.

                     Time and Place: If the Debtors receive more than one Qualified Bid
                     for any Assets, the Debtors shall conduct the Auction. The Auction, if
                     required, will be conducted at the offices of Milbank, Tweed, Hadley &
                     McCloy LLP, 55 Hudson Yards, New York, New York 10001 on
      Auction        February 25, 2019, at a time to be determined, or on such other date or
                     at such other location as designated by the Debtors. If the Debtors
                     receive no more than one Qualified Bid (including any Stalking Horse
                     Bid(s)) with respect to any Assets, the Debtors may determine, in their
                     reasonable discretion, not to hold the Auction for such Assets and
                     instead declare such Qualified Bid(s) as the Successful Bid(s) for such
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                    Assets and request that the Court approve the applicable Asset
                    Purchase Agreement(s) at the Sale Hearing.
                    Each Qualified Bidder participating in the Auction will be required to
                    confirm in writing and on the record at the Auction that (i) it has not
                    engaged in any collusion with respect to the submission of any bid or
                    participating in the Auction and (ii) each Qualified Bid it submits at the
                    Auction is a binding, good faith and bona fide offer to purchase the
                    Assets identified in such bid.

                    Prior to the commencement of the Auction, the Debtors will provide
                    copies of the Qualified Bid(s) that the Debtors determine in their
                    reasonable business judgment, after consultation with the Consultation
   Baseline Bids    Parties, to be the highest or otherwise best Qualified Bid for particular
                    Assets (the “Baseline Bid(s)”) to all other Qualified Bidders who have
                    timely submitted Qualified Bids for such Assets. Bidding at the
                    Auction will commence at the amount of the Baseline Bid(s).

                    At each round of bidding, for each subset of Assets, Qualified Bidders
                    may submit bids that are higher than the Leading Bid (as defined
                    below) for such Assets from the prior round (or, for the first round, the
                    relevant Baseline Bid), by a minimum overbid set by the Debtors for
                    such Asset(s) after consultation with the Consultation Parties (the
                    “Minimum Overbid”); provided, however, that, to the extent that the
                    Baseline Bid is a Stalking Horse Bid, the bidding for the Assets subject
                    to the relevant Stalking Horse Agreement that contains bid protections
                    will start at an amount equal to the sum of: (i) the Baseline Bid, (ii) the
                    aggregate amount of the applicable bid protections, if any, and (iii) the
                    Minimum Overbid (the “Stalking Horse Overbid”).
                    The Debtors may, in their reasonable discretion, announce increases or
                    reductions to the Minimum Overbids and the Stalking Horse Overbids
                    at any time during the Auction.
 Minimum Overbid
                    Additionally, upon a Qualified Bidder’s declaration of its bid, it must
                    commit on the record that, if such bid is to be the Successful Bid or the
                    Backup Bid, it will, following the Auction, pay the additional Good
                    Faith Deposit, calculated on the basis of the increased Purchase Price
                    (the “Incremental Deposit Amount”).
                    For the purpose of evaluating the value of any bid submitted
                    subsequent to a Baseline Bid, the Debtors will, at each round of
                    bidding, give effect to the bid protections payable to the applicable
                    Stalking Horse Bidder(s), if any, as well as to any additional liabilities
                    to be assumed and any additional costs to the Debtors. To the extent
                    that a Leading Bid has been accepted entirely or in part because of the
                    addition, deletion or modification of a provision or provisions in the
                    applicable Asset Purchase Agreement(s), the Debtors will identify such
                    added, deleted or modified provision or provisions and the value
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                      imputed thereto.

                      After the first round of bidding and before each subsequent round of
                      bidding, the Debtors will announce, in consultation with the
                      Consultation Parties, the bid that they believe to be the highest or
                      otherwise best offer for the applicable Assets (each, the “Leading Bid”)
                      and describe the material terms thereof. Each round of bidding will
                      conclude after each participating Qualified Bidder has had the
                      opportunity to submit a subsequent bid with full knowledge of the
                      Leading Bid.
                      The Debtors have the right to determine, in their reasonable discretion,
                      and in consultation with the Consultation Parties, which bid (or
    Leading Bid       combination of bids) is the highest or otherwise best bid with respect to
                      any Assets and reject, at any time, without liability, any bid that the
                      Debtors deem to be inadequate or insufficient, or not in conformity
                      with, the requirements of the Bankruptcy Code, the Bidding
                      Procedures, any order of the Court, or the best interests of the Debtors
                      and their estates.
                      Each Leading Bid must remain open and binding on the applicable
                      Qualified Bidder until and unless (i) the Debtors accept as a Leading
                      Bid for the same Assets a bid by another Qualified Bidder during the
                      Auction and (ii) such Leading Bid is not selected as the Backup Bid.


                      To remain eligible to participate in the Auction for a particular subset
                      of Assets, (i) each Qualified Bidder must submit a bid in each round of
                      bidding for such Assets that is higher or otherwise better than the
                      immediately preceding bid submitted in such round of bidding and
                      (ii) to the extent a Qualified Bidder fails to bid at each round of bidding
 No Round-Skipping
                      or to submit a bid in each round of bidding that is higher or otherwise
                      better than the immediately preceding bid for the applicable Assets
                      submitted in such round of bidding, such Qualified Bidder will be
                      disqualified from continuing to participate in the Auction for the
                      applicable Assets.

                      Immediately prior to the conclusion of the Auction, the Debtors, in
                      consultation with the Consultation Parties, will (i) determine, consistent
                      with the Bidding Procedures, which bid (or combination of bids)
                      constitutes the highest or otherwise best bid for the applicable Assets
  Successful Bid(s)   (each such bid, a “Successful Bid”) and (ii) notify all Qualified Bidders
                      bidding for the applicable Assets at the Auction of the identity of the
                      bidder that submitted the Successful Bid (each such bidder, the
                      “Successful Bidder”) for such Assets and the amount of the Purchase
                      Price and other material terms of the Successful Bid. As a condition to
                      remaining the Successful Bidder, the Successful Bidder must wire to
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                      the Debtors, in immediately available funds, the Incremental Deposit
                      Amount, calculated based on the Purchase Price of the Successful Bid,
                      no later than one business day following the date on which the
                      notification is made.

                      Prior to the conclusion of the Auction, the Debtors will (i) determine,
                      in consultation with the Consultation Parties, which bid (or
                      combination of bids) is the next highest or otherwise best bid after the
                      Successful Bid for the applicable Assets (each, a “Backup Bid”) and
                      (ii) notify all Qualified Bidders bidding for the applicable Assets of the
                      identity of the relevant Backup Bidder(s) and the amount of the
                      Purchase Price and other material terms of the Backup Bid. As a
                      condition to remaining the Backup Bidder, each Backup Bidder shall
                      wire to the Debtors, in immediately available funds, the Incremental
                      Deposit Amount, based on the Purchase Price of its Backup Bid, no
    Backup Bids       later than one business day following the date on which the applicable
                      Backup Bid is announced.
                      The Backup Bid(s) will remain binding on the Backup Bidder(s) until
                      the earlier of (i) the closing of the Sale(s) for the applicable Assets and
                      (ii) 60 days after the date of the Sale Hearing. If the Successful
                      Bidder(s) for the applicable Assets fail to consummate the Sale(s), the
                      Backup Bidder(s) will be deemed the new Successful Bidder(s) for the
                      applicable Assets, and the Debtors will be authorized, but not required,
                      to consummate the Sale(s) of the applicable Assets with the Backup
                      Bidder(s).

                      On or before one business day after the conclusion of the Auction, the
                      Debtors will file with the Court, serve on the Sale Notice Parties and
                      cause to be published on the website maintained by the Debtors’
                      noticing agent, Prime Clerk, LLC, http://cases.primeclerk.com/gym
  Auction Results
                      (the “Prime Clerk Website”), the results of the Auction, which will
                      include (i) copies of the Successful Bid(s) and Backup Bid(s) for all
                      Assets, if any; and (ii) the identities of the Successful Bidder(s) and
                      Backup Bidder(s).

      10.   To summarize the timeline on which the Debtors propose to conduct the Sale(s):

        No later than five business      Deadline for Debtors to file and serve the
        days after entry of the          Potential Assumption and Assignment
        Bidding Procedures Order         Notice
        5:00 p.m. (prevailing Eastern    Deadline to file Cure Objections
        Time) on the date that
        is 14 days after filing of the
        Potential Assumption and
        Assignment Notice
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         January 25, 2019, at 5:00         Proposal Deadline
         p.m. (prevailing Eastern
         Time)
         February 11, 2019, at 5:00        Final Bid Deadline
         p.m. (prevailing Eastern
         Time)
         February 15, 2019, at 5:00        Deadline for objections to the Sale(s) other
         p.m. (prevailing Eastern          than Cure Objections, Adequate Assurance
         Time)                             Objections, and objections to the conduct
                                           of the Auction and the identification of the
                                           Successful Bidder(s)
         February 25, 2019, at a time      Auction
         to be determined
         February 28, 2019, at 5:00        Deadline to file Adequate Assurance
         p.m.(prevailing Eastern           Objections and objections to the conduct of
         Time)                             the Auction and the identification of the
                                           Successful Bidder(s)
         March 2, 2019, at 5:00 p.m.       Deadline to file the replies in connection
         (prevailing Eastern Time)         with the applicable Sale(s)
         March 4, 2019, as                 Proposed hearing to approve the Sale(s)
         determined by, and subject
         to the availability of, the
         Court

B.     Stalking Horse Agreements

       11.    The Debtors have executed the J&J Stalking Horse Agreement with SSIG. The

J&J Stalking Horse Agreement provides for SSIG’s purchase of (i) all of the Assets relating to

the Janie and Jack® brand (the “J&J Assets”), and (ii) intellectual property and e-commerce

platforms for the Gymboree® brand (collectively with the J&J Assets, the “SSIG Assets”). The

J&J Stalking Horse Agreement provides, however, that, for the first month of the GOB sales

described in the Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the

Debtors to Assume the Consulting Agreement, (II) Authorizing and Approving Procedures for

Store Closing Sales, and (III) Granting Certain Related Relief filed simultaneously herewith (the

“GOB Motion”), the J&J Assets (other than applicable intellectual property) will be included in
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the Store Closure Assets (as defined in the GOB Motion), subject to the J&J Stalking Horse

Bidder’s (or another Stalking Horse Bidder’s) option to elect to purchase such assets. To the

extent the J&J Stalking Horse Bid is solely for the intellectual property and e-commerce

platform, it will be a Credit Bid. If, however, the bid includes the J&J Assets (other than

applicable intellectual property), it will include a cash component.

       12.     The Debtors have the right, with the consent of the J&J Stalking Horse Bidder, to

replace the J&J Stalking Horse Bidder with another Qualified Bidder that agrees to serve as the

stalking horse bidder with respect to some or all of the SSIG Assets (the “Replacement J&J

Stalking Horse Bid”). In addition to the Replacement J&J Stalking Horse Bid, the Debtors may

accept one or more other Stalking Horse Bid(s) for any other Assets and execute one or more

Stalking Horse Agreement(s), which may include bid protections (as may the Replacement J&J

Stalking Horse Bid). In such eventuality, the Debtors will file a motion (each, a “Stalking Horse

Motion”) seeking approval, on an expedited basis, of each such Stalking Horse Agreement in

accordance with Local Bankruptcy Rules 6004-2 and 9013-1(N), but no earlier than ten days

after filing the Stalking Horse Motion (and no later than the Sale Hearing).

C.     Notice Procedures

       13.     The Debtors request approval of the Sale Notice substantially in the form attached

to the Bidding Procedures Order as Exhibit 3.        Within two days of entry of the Bidding

Procedures Order, the Debtors will serve the Sale Notice by first class mail or email on: (a) the

Consultation Parties; (b) counsel to each Stalking Horse Bidder; (c) all persons and entities

known by the Debtors to have expressed an interest to the Debtors in any of the Assets during the

past 12 months, including any person or entity that has submitted a bid for any of the Assets;

(d) all persons and entities known by the Debtors to have asserted any Encumbrance with respect

to any Assets (for whom identifying information and addresses are available to the Debtors);
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(e) all Counterparties to the Contracts; (f) any governmental authority known to have a claim

against the Debtors; (g) the United States Attorney General; (h) the Antitrust Division of the

United States Department of Justice; (i) the United States Attorney for the Eastern District of

Virginia; (j) the Office of the Attorney General in each state in which the Debtors operate;

(k) the Federal Trade Commission; (l) the office of the United States Trustee for the Eastern

District of Virginia; (m) counsel to any official committee appointed in these cases; (n) the

Internal Revenue Service; (o) the United States Securities and Exchange Commission; (q) all

parties who have filed a notice of appearance and request for service of papers in these cases

pursuant to Bankruptcy Rule 2002 and (r) all other persons and entities as directed by the Court

(collectively, the “Sale Notice Parties”).

       14.     In addition, the Debtors will also post the Sale Notice and the Bidding Procedures

Order on the Prime Clerk Website and, no later than five business days after entry of the Bidding

Procedures Order, the Debtors will cause the Publication Notice to be published once in the Wall

Street Journal and, in the Debtors’ discretion, any appropriate local or trade periodical.

       15.     The Debtors submit that the procedures described above (the “Notice

Procedures”), coupled with the Assumption and Assignment Procedures described below,

constitute adequate and reasonable notice of the key dates and deadlines, including the Final Bid

Deadline, the Auction, and the deadline to object to the Sale(s), the assumption and assignment

of the Proposed Assumed Contracts, and Cure Costs.

D.     Assumption and Assignment Procedures

       16.     In connection with any Sale, the Debtors propose to assume and assign to the

Successful Bidder(s) the applicable Proposed Assumed Contracts in accordance with the

following procedures:
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           (a)      Potential Assumption and Assignment Notice: Within five business days
                    after entry of the Bidding Procedures Order, the Debtors will file with the
                    Court, serve on the Sale Notice Parties, and cause to be published on the
                    Prime Clerk Website, the Potential Assumption and Assignment Notice,
                    which will (i) identify the Contracts; (ii) list the Debtors’ good faith
                    calculation of the Cure Costs with respect to each Contract; (iii) expressly
                    state that assumption or assignment of any Contract is not guaranteed; and
                    (iv) prominently display the deadline for filing objections to the
                    assumption and assignment of the Contracts and/or the proposed Cure
                    Costs. In the event that the Debtors identify Counterparties that were not
                    served with the Potential Assumption and Assignment Notice, the Debtors
                    will serve such Counterparties with a Potential Assumption and
                    Assignment Notice (or the Proposed Assumed Contracts Notice, as
                    applicable), and the Assumption and Assignment Procedures will
                    nevertheless apply to such Counterparties; provided, however, that the
                    deadline for such Counterparties to file objections will be 5:00 p.m.
                    (prevailing Eastern Time) on the date that is 14 days following service
                    of the Potential Assumption and Assignment Notice.

           (b)      Proposed Assumed Contracts Notice: As soon as reasonably practicable
                    after the conclusion of the Auction, the Debtors will file with the Court,
                    serve on the Sale Notice Parties, and cause to be published on the Prime
                    Clerk Website a list of the contracts that the Debtors will seek to assume
                    and assign pursuant to the Successful Bidder(s) (the “Proposed Assumed
                    Contracts Notice” and, each Contract listed therein, a “Proposed Assumed
                    Contract”).

           (c)      Objections: Any Counterparty that wishes to object to the assumption and
                    assignment to a Successful Bidder of its Proposed Assumed Contract must
                    file with the Court and serve its objection on the Objection Recipients (as
                    defined in the Bidding Procedures Order) by 5:00 p.m. (prevailing
                    Eastern Time) on the date that is 14 days following service of the
                    Potential Assumption and Assignment Notice.

           (d)      Cure Costs Objections.

                    (i)    Deadline: Any Counterparty that wishes to object to the proposed
                           Cure Costs under the relevant Contract (each, a “Cure Objection”),
                           must file with the Court and serve on the Objection Recipients its
                           Cure Objection, which must state, with specificity, the legal and
                           factual bases thereof and include any appropriate documentation in
                           support thereof, by no later than 5:00 p.m. (prevailing Eastern
                           Time) on the date that is 14 days after filing of the Potential
                           Assumption and Assignment Notice.

                    (ii)   Resolution: If the parties are unable to consensually resolve any
                           Cure Objection prior to the commencement of the Sale Hearing,
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                            the Court will make all necessary determinations relating to the
                            Cure Objection at or subsequent to the Sale Hearing; provided that
                            the determination of whether a Cure Objection may be heard at the
                            Sale Hearing is in the Debtors’ and the Court’s discretion. An
                            adjourned Cure Objection may be resolved after the closing date of
                            the applicable Sale; provided that the relevant Asset Purchase
                            Agreement must provide for the establishment of a cash reserve
                            equal to the cure amount the objecting Counterparty reasonably
                            believes is required to cure the asserted monetary default under the
                            applicable Proposed Assumed Contract (or as otherwise ordered by
                            the Court). Upon the Court’s resolution of any Cure Objection,
                            whether or not such resolution occurs prior to or after the closing
                            of the applicable Sale, the Debtors or the applicable Successful
                            Bidder, as applicable, will have the right to exclude the Proposed
                            Assumed Contract subject to such Cure Objection from the Assets
                            subject to the applicable Sale.

                    (iii)   Assumption and Assignment:            Upon resolution of a Cure
                            Objection, provided that neither the Debtors nor the applicable
                            Successful Bidder have determined to exclude the relevant
                            Proposed Assumed Contract from the Assets included in the
                            applicable Sale, and upon the payment of the applicable cure
                            amount, if any, the applicable Proposed Assumed Contract will be
                            deemed assumed and assigned to the applicable Successful Bidder
                            as of the closing date of the applicable Sale.

                    (iv)    Failure to Timely Object: If a Counterparty fails to timely file with
                            the Court and serve on the Objection Recipients a Cure Objection,
                            the Counterparty will be deemed to have consented to the Cure
                            Costs set forth in the Potential Assumption and Assignment Notice
                            and forever will be barred from asserting any objection to such
                            Cure Costs or any other claims related to the applicable Proposed
                            Assumed Contract against the Debtors, the applicable Successful
                            Bidder, or their respective property, and such Cure Costs will
                            constitute the only amount necessary to cure outstanding defaults
                            under the applicable Proposed Assumed Contract in accordance
                            with section 365(b) of the Bankruptcy Code, notwithstanding
                            anything to the contrary in any Proposed Assumed Contract, or any
                            other document.

           (e)      Adequate Assurance Objections.

                    (i)     Deadline: Any Counterparty to a Contract that wishes to object to
                            the proposed adequate assurance of future performance by the
                            applicable Successful Bidder with respect to such Contract (each,
                            an “Adequate Assurance Objection”), has to file with the Court
                            and serve on the Objection Recipients an Adequate Assurance
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                               Objection, which must state, with specificity, the legal and factual
                               bases thereof, including any appropriate documentation in support
                               thereof, by no later than February 28, 2019 at 5:00 p.m.
                               (prevailing Eastern Time).

                       (ii)    Resolution of Objections: If the parties are unable to consensually
                               resolve the Adequate Assurance Objection prior to the
                               commencement of the Sale Hearing, such objection and all issues
                               of adequate assurance of future performance by the applicable
                               Successful Bidder will be determined by the Court at the Sale
                               Hearing.

                       (iii)   Failure to Timely Object: If a Counterparty fails to timely file with
                               the Court and serve on the Objection Recipients an Adequate
                               Assurance Objection, such Counterparty will be deemed to have
                               consented to the assumption and assignment of the Proposed
                               Assumed Contract (unless the Counterparty has filed a timely Cure
                               Objection with respect to such Proposed Assumed Contract) and to
                               the adequate assurance of future performance offered in connection
                               therewith, and forever will be barred from asserting any objection
                               with regard to such assumption and assignment or adequate
                               assurance of future performance. The applicable Successful
                               Bidder will be deemed to have provided adequate assurance of
                               future performance with respect to the applicable Proposed
                               Assumed Contract in accordance with section 365(f)(2)(B) of the
                               Bankruptcy Code, notwithstanding anything to the contrary in the
                               Proposed Assumed Contract, or any other document.

                                         Basis for Relief

A.     The Bidding Procedures Are Appropriate and Are in the Best Interests of the
       Debtors and their Estates

       17.     The paramount goal of any proposed sale of property of the debtor’s estate is to

maximize the value of the sale proceeds received by the estate. See, e.g., In re Food Barn Stores,

Inc., 107 F.3d 558, 564-65 (8th Cir. 1997) (“a primary objective of the [Bankruptcy] Code [is] to

enhance the value of the estate at hand”); Official Comm. of Subordinated Bondholders v.

Integrated Res. Inc. (In re Integrated Res., Inc.), 147 B.R. 650, 659 (S.D.N.Y. 1990) (“[I]t is a

well-established principle of bankruptcy law that the objective of the bankruptcy rules and the

trustee’s duty with respect to such sales is to obtain the highest price or greatest overall benefit
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possible for the estate.”) (citations omitted). Courts uniformly recognize that this paramount

goal is best served by establishing procedures for the purpose of enhancing competitive bidding.

See Id. at 659 (stating that establishing bidding procedures “are important tools to encourage

bidding and to maximize the value of the debtor’s assets”); In re Fin’l News Network, Inc., 126

B.R. 152, 156 (Bankr. S.D.N.Y. 1992) (“court-imposed rules for the disposition of assets . . .

[should] provide an adequate basis for comparison of offers, and [should] provide for fair and

efficient resolution of bankrupt estates.”); In re Edwards, 228 B.R. 552, 561 (Bankr. E.D. Pa.

1998) (“The purpose of procedural bidding orders is to facilitate an open and fair public sale

designed to maximize value for the estate.”).

         18.   The proposed Bidding Procedures are designed to provide a method by which the

Debtors will be able to maximize the value of the Assets. With the assistance of their advisors,

the Debtors have structured the Bidding Procedures to encourage competitive bidding, while

giving the Debtors the opportunity to review and analyze all competitive bids only from

Qualified Bidders, who will have been vetted prior to the Auction. The Bidding Procedures were

designed to yield the highest or otherwise best value for the Assets, which will inure to the

benefit of all parties in interest in these cases. Even if no Auction is held for certain Assets

because multiple Qualified Bids are not received, the resulting purchase price will, conclusively,

be fair because of the public and open marketing process.

         19.   The Bidding Procedures will allow the Debtors to conduct the Auction in a fair,

controlled, and transparent manner with bidders that demonstrate the financial wherewithal to

close.   The fairness and reasonableness of the consideration to be paid by the Successful

Bidder(s) will be demonstrated by adequate market exposure—the best means for establishing

whether a fair and reasonable price is being paid. Any Stalking Horse Agreement(s) the Debtors
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may be able to identify and obtain Court approval for will enable the Debtors to set a floor for

the value of the applicable Assets, increasing the likelihood that the Debtors will receive the

greatest possible consideration for such Assets.

       20.     Courts in this and other districts routinely approve procedures substantially

similar to the proposed Bidding Procedures. See In re Sears Holdings Corporation, No. 18-

23538 (RDD), [Docket No. 816] (Bankr. S.D.N.Y. Nov. 19, 2018); In re Toys “R” Us, Inc., No.

17-34665 (KLP), [Docket No. 2351] (Bankr. E.D. Va. Mar. 23, 2018); In re M&G USA Corp.,

No. 17-12307 (BLS), [Docket No. 490] (Bankr. D. Del. Dec. 14, 2017); In re Aeropostale, Inc.,

Case No. 16-11275 (SHL) [Docket No. 527] (Bankr. S.D.N.Y. July 29, 2016); In re Alpha

Natural Resources, Inc., No. 15-33896 (KRH), [Docket No. 855] (Bankr. E.D. Va. Nov. 6,

2015); In re Patriot Coal Corp., No. 15-32450 (KLP), [Docket No. 406] (Bankr. E.D. Va.

June 25, 2015); In re James River Coal Co., No. 14-31848 (KRH), [Docket No. 230] (Bankr.

E.D. Va. May 8, 2014); In re Roomstore, Inc., No. 11-37790 (DOT), [Docket No. 192] (Bankr.

E.D. Va. Jan. 3, 2012); In re Movie Gallery, Inc., No. 10-30696 (DOT), [Docket No. 94] (Bankr.

E.D. Va. Feb. 4, 2010); In re Circuit City Stores, Inc., No. 08-35653 (KRH), [Docket No. 896]

(Bankr. E.D. Va. Dec. 11, 2008). Accordingly, the Bidding Procedures should be approved as

reasonable, appropriate, and in the best interests of the Debtors, their estates and creditors.

B.     Approval of the Sale(s) is Warranted Under Section 363 of the Bankruptcy Code

       21.     Section 363 of the Bankruptcy Code provides that the debtor “after a notice and a

hearing, may use, sell, or lease, other than in the ordinary course of business, property of the

estate.” 11 U.S.C. § 363(b). Further, section 105(a) of the Bankruptcy Code provides that the

court “may issue any order, process, or judgment that is necessary or appropriate to carry out the

provisions of this title.” 11 U.S.C. § 105(a).
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       22.     While the Bankruptcy Code does not specify the appropriate standard for

approving the sale of property out of the ordinary course under section 363, bankruptcy courts in

this District routinely hold that the business judgment standard applies. See, e.g., In re On-Site

Sourcing, Inc., 412 B.R. 817, 824 (Bankr. E.D. Va. 2009) (“the bankruptcy court must conclude,

from the evidence, that the movant satisfied its fiduciary obligations and established a valid

business justification.”); In re U.S. Airways Grp., 2002 WL 31829093, at *1 (Bankr. E.D. Va.

Dec. 16, 2002) (holding that the debtors’ sound business judgement was sufficient to allow for

the termination of mortgages); In re W.A. Mallory Co., Inc., 214 B.R. 834, 836 (Bankr. E.D. Va.

1997) (applying the “sound business purpose” test); WBQ P’ship v. Va. Dept. of Med. Assistance

Servs. (In re WBQ P’ship), 189 B.R. 97, 102 (Bankr. E.D. Va. 1995) (same).

       23.     When a debtor demonstrates a valid business justification for disposition of estate

property outside of the ordinary course of business, a presumption arises that the debtor’s

decision was made “on an informed basis, in good faith and in the honest belief that the action

taken was in the best interests of the company.” In re Integrated Res., 147 B.R. at 656 (quoting

Smith v. Van Gorkom, 488 A.2d 858, 872 (Del. 1985)).

       24.     As set forth above, in the First Day Declaration and in the Doak Declaration, the

Debtors have a sound business justification for selling the Assets pursuant to the Bidding

Procedures. Simply put, the Debtors do not have the liquidity or capital to continue operating

their business as it existed prior to the Petition Date and selling the Assets as expeditiously as

possible in accordance with the Bidding Procedures is necessary to preserve and maximize their

value and to minimize the Debtors’ costs, consistent with the Debtors’ fiduciary duties to their

economic stakeholders.
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       25.     Accordingly, sound business justifications exist for the Sale of the Assets

pursuant to the Bidding Procedures.

C.     The Sale of the Assets Free and Clear of Encumbrances Is Appropriate

       26.     Section 363(f) of the Bankruptcy Code authorizes a debtor in possession to sell

assets “free and clear of any interest in such property of an entity other than the estate” if:

(i) applicable non-bankruptcy law permits sale of such property free and clear of such interest;

(iii) such entity consents; (iii) such interest is a lien and the price at which such property is to be

sold is greater than the aggregate value of all liens on such property; (iv) such interest is in bona

fide dispute; or (v) such entity could be compelled, in legal or equitable proceeding, to accept a

money satisfaction of such interest. 11 U.S.C. § 363(f)(1)-(5).

       27.     As section 363(f) of the Bankruptcy Code is stated in the disjunctive, when

proceeding pursuant to section 363(b), it is only necessary for a debtor to meet one of the five

conditions of section 363(f). See id.; see also In re Byrd, No. 01-25006, 2007 WL 1485441, at

*14 (Bankr. D. Md. May 18, 2007) (noting that since section 363(f) is written in the disjunctive,

the court may approve a sale free and clear if any one subsection is met).

       28.     The Debtors anticipate that, whichever Sale(s) they pursue, such Sale(s) will

satisfy at least one of the five statutory prerequisites under section 363(f) of the Bankruptcy

Code, either because the sale proceeds will be greater than the Encumbrances on the Assets sold,

the affected parties consent to the Sale of the applicable Assets, or such parties could be

compelled, in legal or equitable proceeding, to accept a money satisfaction of their interests, to

warrant the sale of the applicable Assets free and clear of all Encumbrances.
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D.     The Ultimate Purchaser(s) Are Entitled to the Protections of Section 363(m) of the
       Bankruptcy Code.

       29.     Section 363(m) of the Bankruptcy Code is designed to protect the sale of a

debtor’s assets to a good faith purchaser. Specifically, section 363(m) provides that:

               The reversal or modification on appeal of an authorization under
               subsection (b) or (c) of this section of a sale or lease of property does not
               affect the validity of a sale or lease under such authorization to an entity
               that purchased or leased such property in good faith, whether or not such
               entity knew of the pendency of the appeal, unless such authorization and
               such sale . . .were stayed pending appeal.

11 U.S.C. § 363(m).

       30.     While the Bankruptcy Code does not define good faith, many courts have held

that a purchaser shows its good faith through the integrity of its conduct during the course of the

sale process. In re Abbotts Dairies of Penn. Inc., 788 F. 2d at 150 (“Typically, the misconduct

that would destroy a [buyer’s] good faith status at a judicial sale involves fraud, collusion

between the [proposed buyer] and other bidders or the trustee, or an attempt to take grossly

unfair advantage of other bidders.”); Andy Frain Services 798 F.2d 1113, 1125 (7th Cir. 1986); In

re Sasson Jeans, 90 B.R. 608, 610 (S.D.N.Y. 1988).

       31.     The Bidding Procedures are designed with the goal of producing a fair and

transparent bidding process. The Successful Bidder(s) and the Debtors will have negotiated at

arm’s-length and in good faith, pursuant to a transparent process that, if necessary, will

culminate in a public Auction. Notably, the Bidding Procedures require each Qualified Bidder to

certify that it has not colluded with any other party in making its bid or participating in the

Auction.

       32.     As such, the Debtors submit that any Successful Bidder(s) will be good faith

purchasers, entitled to the protections of section 363(m) of the Bankruptcy Code.
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E.     The Notice Procedures Are Appropriate and Comply with Bankruptcy Rule 2002

       33.     Bankruptcy Rule 2002(a) requires the Debtors to provide creditors with twenty-

one days’ notice of the Sale Hearing. Bankruptcy Rule 2002(c) requires such notice to include

the date, time, and place of the Auction and the Sale Hearing, and the deadline for filing any

objections to the relief requested in the Sale Motion.

       34.     The Debtors submit that the Notice Procedures comply with Bankruptcy

Rule 2002 and are reasonably calculated to provide all creditors and known parties in interest

with adequate and timely notice of the proposed Sale, the Bidding Procedures, the Auction and

the Sale Hearing. Moreover, the Debtors are publishing the Publication Notice in the Wall Street

Journal and may publish additional Publication Notices. Accordingly, the Debtors request that

the Court approve the Notice Procedures, including the form and manner of the Sale Notice and

the other notices described herein, and find that no other further notice is necessary or required.

F.     Assumption and Assignment of Executory Contracts and Unexpired Leases

       35.     Section 365(a) of the Bankruptcy Code provides that a debtor “subject to the

court’s approval, may assume or reject any executory contract or unexpired lease . . .” 11 U.S.C.

§ 365(a).

       36.     Courts employ a business judgment standard in determining whether to approve a

debtor’s decision to assume or reject an executory contract or unexpired lease. Lubrizol Enters.,

Inc. v. Richmond Metal Finishers, Inc., (In re Lubrizol Enters., Inc.), 756 F.2d 1043, 1046-47

(4th Cir. 1985) (affording debtor’s decision the deference mandated by the sound business

judgment rule); In re Alpha Nat. Res., Inc., 555 B.R. 520, 529 (Bankr. E.D. Va. 2016) (same).

       37.     The Bidding Procedures allow the Successful Bidder(s) to designate the

Contracts they wish to assume in connection with the Sale(s). As the Debtors intend to sell

substantially all of their Assets and do not intend to continue as a going concern, it is obviously
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in the Debtors’ best interests that as many as possible of their Contracts, and in particular, of the

Unexpired Leases for their multiple store locations, be assumed as part of the Sale(s).

Contemporaneously with the filing of this motion the Debtors have filed a motion seeking to

reject any of their Unexpired Leases that are not assumed and assigned in connection with the

Sale(s). As such rejection will give rise to rejection damages claims that will burden the estates

without any concomitant benefits, facilitating assumption and assignment of Unexpired Leases is

clearly in the best interests of the Debtors, their creditors and their estates.

        38.     At the same time, the Assumption and Assignment Procedures are designed to

ensure that the Counterparties’ rights are fully protected. Section 365(b), which codifies the

requirements for assuming an executory contract, provides, in pertinent part that the debtor may

only assume an executory contract if it: (a) cures, or provides adequate assurance that the

[debtor] will promptly cure[s] [any defaults existing under the executory contract]; (b)

compensates, or provides adequate assurance that the [debtor] will promptly compensate, a party

other than the debtor to such contract . . . for any actual pecuniary loss to such party resulting

from such default; and (c) provides adequate assurance of future performance under such

contract or lease. 11 U.S.C. § 365(b).

        39.     Furthermore, section 365(f) of the Bankruptcy Code requires that the assignee of

any executory contract provide “adequate assurance of future performance . . . whether or not

there has been a default in such contract.” 11 U.S.C. § 365(f)(2). While not defined by the

Bankruptcy Code, adequate assurance is determined by “a practical, pragmatic construction

based upon the facts and circumstances of each case.” Carlisle Homes, Inc. v. Azzari (In re

Carlisle Homes, Inc.), 103 B.R. 524, 538 (Bankr. D.N.J. 1988) (quoting In re Bon Ton

Restaurant & Pastry Shop, Inc., 53 B.R. 789, 803 (Bankr. N.D. Ill. 1995)); see also In re Alipat,
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Inc., 36 B.R. 274, 276-77 (Bankr. E.D. Mo. 1984) (recognizing that the term is “borrowed . . .

from Section 2-609 of the Uniform Commercial Code,” which “suggest[s] that adequate

assurance is to be defined by commercial rather than legal standards . . . [and] factual

considerations.”).   While no single standard governs every case, the adequate assurance

requirement “attempts to strike a balance between two sometimes competing interests, the right

of the contracting non-debtor to get the performance it bargained for and the right of the debtor’s

creditors to get the benefit of the debtor’s bargain.” In re Luce Industries, Inc., 8 B.R. 100, 107

(Bankr. S.D.N.Y. 1980). Adequate assurance may be provided by demonstrating the assignee’s

financial health and experience in managing the type of enterprise or property assigned. See,

e.g., In re Bygaph, Inc., 56 B.R. 596, 605-06 (Bankr. S.D.N.Y. 1986) (finding that industrial

expertise, past success in running a similar business and financial wherewithal satisfied the

adequate assurance requirement of section 365 of the Bankruptcy Code).

       40.     The Bidding Procedures require all Qualified Bidders to provide financial and

other information that would provide the Counterparties with adequate assurance of future

performance of obligations under the applicable Proposed Assumed Contracts. Counterparties

unsatisfied with the proposed adequate assurance of future performance provided to them will be

able to lodge objections with respect thereto.

       41.     Accordingly, the Debtors submit that the requirements of section 365 of the

Bankruptcy Code with respect to the assumption and assignment of the Proposed Assumed

Contracts have been satisfied, and that the Assumption and Assignment Procedures should be

approved.

G.      Proposed Timeline is Appropriate

       42.     The Debtors believe that conducting the sale process in the time frame set forth

above is reasonable and will provide parties in interest with sufficient time and information
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necessary to formulate and submit bids to purchase the Assets or any subset thereof.            In

determining the appropriate timeline, the Debtors balanced the need to provide an adequate

period for potential purchasers to conduct due diligence and submit bids on a fully informed

basis with the Debtors’ need to efficiently sell their Assets while they have sufficient funding to

do so and in conformance with the milestones contained in the proposed DIP financing. See

Doak Decl. ¶ 20.

       43.      The Debtors have significant business and financial imperatives to move

quickly. In formulating the proposed timeline, the Debtors have considered their liquidity needs

and their ability to maintain their facilities and pay employees during the sale process. The

majority of the Debtors’ stores are not currently generating adequate revenue to sustain their

operations. The proposed timeline will allow the Debtors to fund the sale process, as well as to

continue to pay their remaining employees, and offers the estates the best chance of maximizing

value. See Doak Decl. ¶ 18.

                      Requests for Immediate Relief and Waiver of Stay

       44.     Bankruptcy Rule 6004(h) provides that an “order authorizing the use, sale, or

lease of property…is stayed until the expiration of fourteen days after the entry of the order,

unless the court orders otherwise.”     Fed. R. Bankr. P. 6004(h).      Additionally, Bankruptcy

Rule 6006(d) provides that an “order authorizing the trustee to assign an executory contract or

unexpired lease…is stayed until the expiration of fourteen days after the entry of the order,

unless the court orders otherwise.” Fed. R. Bankr. P. 6006(d).

       45.     Pursuant to Bankruptcy Rules 6004(h) and 6006(d), the Debtors seek a waiver of

any stay of the effectiveness of the Sale Order(s). As set forth above, the relief requested herein

is necessary and appropriate to maximize the value of the Debtors’ estates for the benefit of their

economic stakeholders.
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       46.      Accordingly, the Debtors submit that ample cause exists to justify the waiver of

the fourteen-day stay imposed by Bankruptcy Rules 6004(h) and 6006(d), to the extent that each

Rule applies.

                      Waiver of Memorandum of Points and Authorities

       47.      The Debtors respectfully request that the Court treat this Motion as a written

memorandum of points and authorities or waive any requirement that this Motion be

accompanied by a written memorandum of points and authorities as described in Local

Rule 9013-1(G).

                                             Notice

       48.      The Debtors have provided notice of this Motion to: (a) the Office of the United

States Trustee for the Eastern District of Virginia, 701 East Broad Street, Suite 4304, Richmond,

Virginia 23219, Attn: Robert B. Van Arsdale, Esq.; (b) the Debtors’ fifty (50) largest unsecured

creditors on a consolidated basis; (c) counsel to the Debtors’ proposed postpetition secured

lenders, King & Spalding LLP, 1185 Avenue of the Americas, New York, New York 10036-

4003, Attn: W. Austin Jowers and Christopher G. Boies; (d) co-counsel to the Debtors’ proposed

postpetition secured lenders, McGuireWoods LLP, Attn: Dion W. Hayes, Douglas M. Foley, and

Sarah B. Boehm, 800 East Canal Street, Richmond, Virginia 23219-3916; (e) counsel to Bank of

America, N.A. as administrative agent under the ABL Credit Agreement, Morgan Lewis &

Bockius LLP, One Federal Street, Boston, Massachusetts 02110-1726, Attn: Julia Frost-Davies,

Esq. and Amelia C. Joiner, Esq.; (f) co-counsel to Bank of America, N.A. as administrative agent

under the ABL Credit Agreement, Hunton Andrews Kurth LLP, 951 East Byrd Street,

Richmond, Virginia 23219, Attn: Tyler P. Brown, Esq. and Justin F. Paget, Esq.; (g) counsel to

Goldman Sachs Specialty Lending Group, L.P. as administrative and collateral agent under the

Term Loan Credit Agreement; (h) any banking or financial institution that holds the Debtors’
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accounts; (i) the Internal Revenue Service; (j) the office of the attorneys general for the states in

which the Debtors operate; (k) the National Association of Attorneys General; and (l) all other

parties entitled to notice pursuant to Bankruptcy Rule 2002. The Debtors submit that no other or

further notice of this Motion need be given.

                                      Reservation of Rights

       49.     Nothing contained herein is intended or shall be construed as: (a) an admission as

to the amount of, basis for, or validity of any claim against the Debtors under the Bankruptcy

Code or applicable nonbankruptcy law; (b) a waiver of the Debtors’ or any other party in

interest’s right to dispute any claim; (c) a promise or requirement to pay any particular claim;

(d) an implication or admission that any particular claim is of a type described in this Motion;

(e) a request or authorization to assume, adopt, or reject any agreement, contract, or lease

pursuant to section 365 of the Bankruptcy Code; (f) an admission as to the validity, priority,

enforceability, or perfection of any lien on, security interest in, or other encumbrance on property

of the Debtors’ estates; or (g) a waiver of any claims or causes of action which may exist against

any entity under the Bankruptcy Code or any other applicable law. If the Court grants the relief

sought herein, any payment made pursuant to the Court’s order is not intended and should not be

construed as an admission as to the validity of any particular claim or a waiver of the Debtors’

rights to subsequently dispute such claim.

                                     NO PRIOR REQUEST

       50.     No prior request for the relief sought in this Motion has been made to this Court

or any other court.

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       WHEREFORE, the Debtors respectfully request that the Court (i) enter the Bidding

Procedures Order substantially in the form attached hereto as Exhibit A, (ii) enter the Sale

Order(s), substantially in the form attached hereto as Exhibit B, authorizing the Sale(s) of the

Assets to the Successful Bidder(s), and (iii) grant such other and further relief to the Debtors as

the Court deems appropriate.

Dated: January 17, 2019             /s/ Michael A. Condyles
Richmond, Virginia                  Michael A. Condyles, Esq. (VA 27807)
                                    Peter J. Barrett, Esq. (VA 46179)
                                    Jeremy S. Williams, Esq. (VA 77469)
                                    Brian H. Richardson, Esq. (VA 92477)
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                                    901 East Byrd Street, Suite 1000
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                                    -and-

                                    Dennis F. Dunne, Esq. (pro hac vice pending)
                                    Evan R. Fleck, Esq. (pro hac vice pending)
                                    Michael W. Price, Esq. (pro hac vice pending)
                                    MILBANK, TWEED, HADLEY & MCCLOY LLP
                                    28 Liberty Street
                                    New York, New York 10005
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                                             efleck@milbank.com
                                             mprice@milbank.com

                                    Proposed Co-Counsel for Debtors in Possession
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                                     Exhibit A

                              Bidding Procedures Order
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Dennis F. Dunne, Esq. (pro hac vice pending)                         Michael A. Condyles, Esq. (VA 27807)
Evan R. Fleck, Esq. (pro hac vice pending)                           Peter J. Barrett, Esq. (VA 46179)
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Facsimile:     (212) 530-5219                                        Telephone:      (804) 644-1700
                                                                     Facsimile:      (804) 783-6192
Proposed Co-Counsel for Debtors in Possession



                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                   RICHMOND DIVISION

                                                                 )
In re:                                                           )        Chapter 11
                                                                 )
GYMBOREE GROUP, INC., et al., 1                                  )        Case No. 19-30258 (KLP)
                                                                 )
                          Debtors.                               )        (Joint Administration Requested)
                                                                 )
                                                                 )

   ORDER (I)(A) APPROVING BIDDING PROCEDURES, (B) APPROVING J&J
 STALKING HORSE PURCHASE AGREEMENT, (C) SCHEDULING AN AUCTION
AND APPROVING FORM AND MANNER OF NOTICE THEREOF, (D) APPROVING
  ASSUMPTION AND ASSIGNMENT PROCEDURES AND (E) SCHEDULING THE
   SALE HEARING; (II) APPROVING (A) THE SALE(S), FREE AND CLEAR OF
 ENCUMBRANCES AND (B) ASSUMPTION AND ASSIGNMENT OF EXECUTORY
CONTRACTS AND UNEXPIRED LEASES; AND (III) GRANTING RELATED RELIEF

         Upon the motion (the “Motion”), 2 of the above-captioned debtors in possession

(collectively, the “Debtors”), for entry of an order: (a) approving the Bidding Procedures,

(ii) approving the J&J Stalking Horse Agreement, (iii) scheduling an Auction and approving the

1
         The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
         number, are: Gymboree Group, Inc. (6587); Gymboree Intermediate Corporation (1473); Gymboree
         Holding Corporation (0315); Gymboree Wholesale, Inc. (6588); Gym-Mark, Inc. (6459); Gymboree
         Operations, Inc. (6463); Gymboree Distribution, Inc. (8669); Gymboree Manufacturing, Inc. (6464);
         Gymboree Retail Stores, LLC (6461); Gym-Card, LLC (5720); and Gymboree Island, LLC (1215). The
         Debtors’ service address is 71 Stevenson Street, Suite 2200, San Francisco, California 94105.
2
         Capitalized terms not specifically defined herein shall have the meaning assigned to them in the Motion.



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form and manner of notice thereof, (iv) approving Assumption and Assignment Procedures,

(v) scheduling a Sale Hearing, and (vi) granting certain related relief; and upon the Motion and

the Declaration of Stephen Coulombe in Support of First Day Pleadings (the “First Day

Declaration”), the Declaration of James Doak in support of the Motion (the “Doak Declaration”);

and this Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the

Standing Order of Reference from the United States District Court for the Eastern District of

Virginia, dated July 10, 1984; and this Court having the authority to enter an order consistent

with Article III of the United States Constitution; and this Court having found that venue of this

proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and

this Court having found that the relief requested in the Motion is in the best interests of the

Debtors’ estates, their creditors, and other parties in interest; and this Court having found that the

Debtors’ notice of the Motion and opportunity for a hearing on the Motion were appropriate

under the circumstances and no other notice need be provided; and this Court having reviewed

the Motion and having heard the statements in support of the relief requested therein at a hearing

before this Court; and this Court having determined that the legal and factual bases set forth in

the Motion and at the hearing establish just cause for the relief granted herein; and upon all of the

proceedings had before this Court; and after due deliberation and sufficient cause appearing

therefor,

       IT IS HEREBY FOUND AND DETERMINED THAT: 3

       A.       The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334(b). This

matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2).


3
       The findings of fact and the conclusions of law stated herein shall constitute the Court’s findings of fact
       and conclusions of law pursuant to Bankruptcy Rule 7052. To the extent any finding of fact shall be
       determined to be a conclusion of law, it shall be so deemed, and to the extent any conclusion of law shall be
       determined to be a finding of fact, it shall be so deemed.



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        B.     Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

        C.     The statutory predicates for the relief requested in the Motion are (i) Sections

105(a), 363, and 365 of the Bankruptcy Code, (ii) Bankruptcy Rules 2002, 6004, 6006, 9007,

9008 and 9014, and (iii) Local Bankruptcy Rules 2002-1 and 6004-1.

        D.     Notice of the Motion and the hearing on the Bidding Procedures was sufficient

under the circumstances and no other or further notice need be provided except as set forth in the

Bidding Procedures and the Assumption and Assignment Procedures. A reasonable opportunity

to object and be heard regarding the relief requested in the Motion has been afforded to parties in

interest.

        E.     The Debtors have articulated good and sufficient business reasons for this Court

to approve the Bidding Procedures attached hereto as Exhibit 1, and the Bidding Procedures are

fair, reasonable and appropriate, and are designed to maximize the value of the Assets.

        F.     The Assumption and Assignment Procedures set forth in ¶¶ D(1)-(13) below are

fair, reasonable and appropriate and comply with the provisions of section 365 of the Bankruptcy

Code.

        G.     Each of the Sale Notice, Publication Notice, Potential Assumption and

Assignment Notice and Proposed Assumed Contracts Notice is appropriate and reasonably

calculated to provide all interested parties with timely and proper notice of the Auction, Sale

Hearing, Bidding Procedures, Assumption and Assignment Procedures, the Debtors’ good faith

calculation of the cure amounts due under any executory contract or unexpired lease that the

Debtors reasonably believe may be transferred in connection with a Sale, and of all relevant

dates and deadlines with respect to the foregoing.




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        H.        Entry of this Order is in the best interests of the Debtors’ estates, their creditors

and all other interested parties.

        NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED

THAT:

                  1.      The Motion is GRANTED as set forth herein.

                  2.      Except as expressly provided herein, nothing herein shall be construed as a
                          determination of the rights of any party in interest in these chapter 11
                          cases.

                  3.      All objections to the relief granted in this Order that have not been
                          withdrawn, waived, or settled, and all reservations of rights included
                          therein, hereby are overruled and denied on the merits with prejudice.

             A.        The Bidding Procedures

                  1.      The Bidding Procedures attached hereto as Exhibit 1 are APPROVED and
                          fully incorporated into this Order. The Debtors are authorized to take all
                          actions necessary or appropriate to implement the Bidding Procedures.
                          The failure to specifically include a reference to any particular provision
                          of the Bidding Procedures in this Order shall not diminish or impair the
                          effectiveness of such provision.

                  2.      The following dates and deadlines regarding competitive bidding are
                          established (subject to modification in accordance with the Bidding
                          Procedures):

                          a.      Proposal Deadline: January 25, 2019 at 5:00 p.m. (prevailing
                                  Eastern Time) is the deadline by which any prospective interested
                                  parties must submit a Proposal;

                          b.      Final Bid Deadline: February 11, 2019 at 5:00 p.m. (prevailing
                                  Eastern Time) is the deadline by which the parties specified in the
                                  Bidding Procedures must actually receive the final, binding bids
                                  (each, a “Final Bid”) from all Prospective Bidders that intend to
                                  participate in the Auction, provided that the Debtors shall have the
                                  discretion to extend the Final Bid Deadline for any Prospective
                                  Bidder;

                          c.      Notification of Status as Qualified Bidder: Prior to the Auction,
                                  the Debtors must notify all Qualified Bidders of their status as
                                  such; and




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                    d.      Auction: If the Debtors receive more than one Qualified Bid for
                            the same Assets, the Debtors shall conduct the Auction at the
                            offices of Milbank, Tweed, Hadley & McCloy LLP, 55 Hudson
                            Yards, New York, New York 10001 on February 25, 2019, at a
                            time to be determined;

           3.       Only a Qualified Bidder that has submitted a Qualified Bid shall be
                    eligible to participate in the Auction.

           4.       If the Debtors receive no more than one Qualified Bid (including any
                    Stalking Horse Bid) with respect to any Assets, the Debtors may
                    determine, in their discretion and in consultation with the Consultation
                    Parties, not to hold the Auction for such Assets and shall have the right to
                    declare such Qualified Bid as the Successful Bid for such Assets and
                    request, at the Sale Hearing, that the Court approve the applicable Asset
                    Purchase Agreement.

           5.       If the Auction is conducted, (a) each Qualified Bidder participating in the
                    Auction shall be required to confirm that it has not engaged in any
                    collusion with respect to the bidding process or the Sale; (b) each
                    Qualified Bidder participating in the Auction shall be required to confirm
                    that its Qualified Bid is a good faith, bona fide offer and that it intends to
                    consummate the proposed Sale if selected as the Successful Bidder; and
                    (c) the Auction shall be conducted openly and shall be transcribed or
                    videotaped.

           6.       If the Auction is conducted, this Court will not consider bids made after
                    the Auction has closed.

           7.       All Good Faith Deposits (for purposes of this paragraph, as increased by
                    the Incremental Deposit Amount, if applicable) shall be held in escrow by
                    the Debtors in a non-interest-bearing escrow or trust account and shall not
                    become property of the Debtors’ estates. All Good Faith Deposits shall be
                    retained by the Debtors until no later than five business days after the
                    conclusion of the Auction, except for the Good Faith Deposit(s) of
                    Successful Bidder(s) and Backup Bidder(s). The Debtors shall retain the
                    Good Faith Deposit(s) of the Backup Bidder(s) until the earlier of (a) five
                    business days after the closing of the applicable Sale(s) and (b) 60 days
                    after the date of the Sale Hearing. The Good Faith Deposit(s) of the
                    Successful Bidder(s) shall be credited towards the applicable Purchase
                    Price.

      B.    Stalking Horse Agreements

           1.       The Debtors are authorized to execute the J&J Stalking Horse Agreement
                    and to perform thereunder.




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           2.       To the extent the Debtors deem necessary and appropriate in the prudent
                    exercise of their business judgment to enter into any other Stalking Horse
                    Agreement(s), they are authorized to seek approval of any such Stalking
                    Horse Agreement, including any bid protections in connection therewith,
                    on an expedited basis if necessary, but no earlier than ten days after filing
                    a Stalking Horse Motion and no later than the Sale Hearing.

      C.   Sale Notice

           1.       The form of the Sale Notice attached hereto as Exhibit 3 is approved and
                    fully incorporated into this Order. The failure to specifically include a
                    reference to any particular provision of the Bidding Procedures in the Sale
                    Notice shall not diminish or impair the effectiveness of such provision.

           2.       Within two days after entry of this Order, the Debtors shall serve the Sale
                    Notice on the Sale Notice Parties.

           3.       As soon as reasonably practicable, but in no event later than five days after
                    the entry of this Order, the Debtors shall post the Sale Notice and this
                    Order on the website maintained by the Debtors’ claim and noticing agent,
                    Prime Clerk, LLC, located at http://cases.primeclerk.com/gym (the “Prime
                    Clerk Website”).

           4.       Not later than five days after entry of this Order, the Debtors shall cause
                    an abbreviated version of the Sale Notice to be published once in the Wall
                    Street Journal and may be published in such additional local and trade
                    publications as the Debtors deem advisable.

           5.       The Sale Hearing shall be conducted on March 4, 2019 at__ :______
                    [a.m./p.m.] (prevailing Eastern Time).

           6.       Objections to any Sale (each, a “Sale Objection”), including any objection
                    to the sale of any Assets free and clear of liens, claims, interests, and
                    encumbrances pursuant to section 363(f) of the Bankruptcy Code, and
                    entry of any Sale Order shall (a) be in writing and specify the nature of
                    such objection; (b) comply with the Bankruptcy Code, Bankruptcy Rules,
                    Local Bankruptcy Rules and all orders of the Court; and (c) be filed with
                    the Court and served on: the Service List as set forth in the Case
                    Management Procedures and counsel to J&J Stalking Horse Bidder
                    (collectively, the “Objection Recipients”) by February 15, 2019 at 5:00
                    p.m. (prevailing Eastern Time).

           7.       Any reply to Sale Objections and any objections to the conduct of the
                    Auction and the identification of the Successful Bidder(s) must be filed by
                    no later than February 28, 2019 at 5:00 p.m. (prevailing Eastern Time).
                    The failure of any party to timely file and serve on the Objection
                    Recipients a timely Sale Objection shall bar such party from asserting, at
                    the Sale Hearing or thereafter, any objection (other than a Cure Objection

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                    or an Adequate Assurance Objection) to the relief requested in the Motion,
                    or to the consummation of the applicable Sale(s), including the transfer of
                    the applicable Assets free and clear of all liens, claims, interests, and
                    encumbrances pursuant to section 363(f) of the Bankruptcy Code, and
                    shall be deemed to be a “consent” for purposes of section 363(f) of the
                    Bankruptcy Code.

           8.       If any Successful Bidder fails to consummate the proposed Sale, a hearing
                    to authorize the assumption and assignment of the applicable Proposed
                    Assigned Contracts to the applicable Backup Bidder(s) shall be held
                    before the Court on no less than five business days’ notice, with objections
                    due at least one day prior to such hearing, unless otherwise ordered by the
                    Court. For the avoidance of doubt, the scope of such hearing shall be
                    limited to issues relating to adequate assurance of future performance by
                    the Backup Bidder(s).

           9.       Notwithstanding the foregoing or anything herein to the contrary, the
                    deadline to file a Cure Objection or an Adequate Assurance Objection in
                    connection with a proposed Sale shall be as set forth below.

      D.   Assumption and Assignment Procedures

           1.       The Potential Assumption and Assignment Notice attached hereto as
                    Exhibit 2 is approved and fully incorporated into this Order. The failure to
                    specifically include a reference to any particular provision of the
                    Assumption and Assignment Procedures in the Assumption and
                    Assignment Notice shall not diminish or impair the effectiveness of such
                    provision.

           2.       The Debtors shall file with this Court and cause to be published on the
                    Prime Clerk Website, the Potential Assumption and Assignment Notice
                    within five business days after the entry of this Order.

           3.       Within five business days after the entry of this Order, the Debtors shall
                    serve on each non-Debtor counterparty (each, a “Counterparty”) to an
                    executory contract (each, an “Executory Contract”) or unexpired lease
                    (each, an “Unexpired Lease) that the Debtors reasonably believe may be
                    transferred as part of the Sale(s) (collectively, such Executory Contracts
                    and Unexpired Leases, the “Contracts”), the Potential Assumption and
                    Assignment Notice with the proposed respective cure amounts (the “Cure
                    Costs”) for each Contract.

           4.       Any Counterparty that wishes to object to the proposed Cure Costs with
                    respect to any outstanding monetary defaults under the relevant Contract
                    (each, a “Cure Objection”), shall file with this Court and serve on the
                    Objection Recipients its Cure Objection, which must state, with
                    specificity, the legal and factual bases therefor, including any appropriate


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                    documentation in support thereof, by no later than 5:00 p.m. (prevailing
                    Eastern Time) on the date that is 14 days after the filing of the
                    Potential Assumption and Assignment Notice.

           5.       As soon as reasonably practicable after the conclusion of the Auction, the
                    Debtors shall file with this Court, serve on the Sale Notice Parties
                    (including each applicable Counterparty and its counsel, if identified as a
                    notice party in the applicable Contract or as identified in any notice of
                    appearance filed in these cases), by email, to the extent they have
                    consented to email service and email addresses are available to the
                    Debtors, or otherwise via overnight mail, and cause to be published on the
                    Prime Clerk Website a list of the contracts that the Debtors will seek to
                    assume and assign to the Successful Bidder(s) (the “Proposed Assumed
                    Contracts Notice” and, each contract used therein, a “Proposed Assumed
                    Contract”).

           6.       If the parties are unable to consensually resolve a Cure Objection with
                    respect to a Proposed Assumed Contract prior to the commencement of
                    the Sale Hearing, the Court shall make all necessary determinations
                    relating to such Cure Objection at or subsequent to the Sale Hearing;
                    provided that the determination of whether a Cure Objection may be heard
                    at the Sale Hearing is in the Debtors’ and the Court’s discretion. An
                    adjourned Cure Objection may be resolved after the closing date of the
                    applicable Sale; provided that the relevant Asset Purchase Agreement
                    shall provide for the establishment of a cash reserve equal to the cure
                    amount the objecting Counterparty reasonably believes is required to cure
                    the asserted monetary default under the applicable Proposed Assumed
                    Contract (or as otherwise may be ordered by the Court). Upon the
                    Court’s resolution of any Cure Objection, whether or not such resolution
                    occurs prior to or after the closing of the applicable Sale, the Debtors or
                    the applicable Successful Bidder, as applicable, will have the right to
                    exclude the Proposed Assumed Contract subject to such Cure Objection
                    from the Assets subject to the applicable Sale.

           7.       Upon resolution of a Cure Objection, provided that the Debtors or the
                    applicable Successful Bidder have not determined to exclude the relevant
                    Proposed Assumed Contract from the Assets subject to the applicable
                    Sale, and the payment of the applicable cure amount, if any, the Proposed
                    Assumed Contract that was the subject of such adjourned Cure Objection
                    shall be deemed assumed and assigned to the applicable Successful
                    Bidder, as of the closing date of the applicable Sale.

           8.       If a Counterparty fails to timely file with the Court and serve on the
                    Objection Recipients a Cure Objection, the Counterparty shall be deemed
                    to have consented to the Cure Costs set forth in the Potential Assumption
                    and Assignment Notice and forever shall be barred from asserting any
                    other claims related to such Proposed Assumed Contract against the


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                    Debtors or any Successful Bidder(s) or their respective property, and such
                    Cure Costs shall constitute the only amount necessary to cure outstanding
                    defaults under the applicable Contract in accordance with section 365(b)
                    of the Bankruptcy Code, notwithstanding anything to the contrary in such
                    Contract or any other document.

           9.       In the event that the Debtors identify any Counterparties that were not
                    served with the Potential Assumption and Assignment Notice, the Debtors
                    shall subsequently serve such Counterparty with the Potential Assumption
                    and Assignment Notice, and these Assignment and Assumption
                    Procedures shall nevertheless apply to such Counterparty; provided,
                    however, that the deadline for such Counterparty to file a Cure Objection
                    shall be 5:00 p.m. (prevailing Eastern Time) on the date that is seven
                    days following service of the supplemental Assumption and
                    Assignment Notice.

           10.      Within 24 hours of the receipt of adequate assurance information from any
                    Qualified Bidder, but in no event later than 24 hours after the Final Bid
                    Deadline, the Debtors shall serve, by email to the extent email addresses
                    are available to the Debtors and otherwise by overnight mail, such
                    adequate assurance information (as more fully set forth in Section VI.A.7
                    of the Bidding Procedures) to any Counterparty (and its counsel, if
                    identified as a notice party in the applicable Contract or as identified in
                    any notice of appearance filed in these cases) whose Contract may be
                    assumed by such Qualified Bidder, including the legal name of the
                    proposed assignee, the proposed assignee’s financial ability to perform
                    under the Contract and a contact person that Counterparties may contact if
                    they wish to obtain further information regarding the Qualified Bidder.

           11.      Any Counterparty that wishes to object to the proposed adequate
                    assurance of future performance by the applicable Successful Bidder with
                    respect to such Contract (each, an “Adequate Assurance Objection”), shall
                    file with this Court and serve on the Objection Recipients an Adequate
                    Assurance Objection, which must state, with specificity, the legal and
                    factual bases therefor, including any appropriate documentation in support
                    thereof, by no later than February 28, 2019 at 5:00 p.m. (prevailing
                    Eastern Time).

           12.      If the parties are unable to consensually resolve the Adequate Assurance
                    Objection prior to the commencement of the Sale Hearing, such objection
                    and all issues of adequate assurance of future performance by the
                    applicable Successful Bidder shall be determined by the Court at the Sale
                    Hearing.

           13.      If a Counterparty fails to timely file with the Court and serve on the
                    Objection Recipients an Adequate Assurance Objection, such
                    Counterparty shall be deemed to have consented to the assumption and


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                     assignment of the Proposed Assumed Contract (unless the Counterparty
                     has filed a timely Cure Objection with respect to the Proposed Assumed
                     Contract) and to the adequate assurance of future performance in
                     connection therewith, and forever shall be barred from asserting any
                     objection with regard to such assumption and assignment or adequate
                     assurance of future performance. The applicable Successful Bidder shall
                     be deemed to have provided adequate assurance of future performance
                     with respect to the applicable Proposed Assumed Contract in accordance
                     with section 365(f)(2)(B) of the Bankruptcy Code, notwithstanding
                     anything to the contrary in the Contract or any other document.

      E.     Additional Relief

             1.      All persons and entities that participate in the bidding process or the
                     Auction shall be deemed to have knowingly and voluntarily submitted to
                     the exclusive jurisdiction of this Court with respect to all matters related to
                     the Bidding Procedures, the Auction, and any Sale(s).

             2.      In the event there is a conflict between this Order and the Motion, this
                     Order shall control.

             3.      Any Stalking Horse Bidder shall have standing to enforce the terms of this
                     Order.

             4.      The requirements of Bankruptcy Rule 6004(a) are satisfied.

             5.      All time periods set forth in this Order shall be calculated in accordance
                     with Bankruptcy Rule 9006(a).

             6.      The Debtors are authorized to take all steps necessary or appropriate to
                     carry out the provisions of this Order.

             7.      This Court shall retain jurisdiction to hear and determine all matters
                     arising from the interpretation or implementation of this Order.

Dated: ___, 2019
Richmond, Virginia


                                            UNITED STATES BANKRUPTCY JUDGE




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WE ASK FOR THIS:

/s/ Michael A. Condyles
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Peter J. Barrett, Esq. (VA 46179)
Jeremy S. Williams, Esq. (VA 77469)
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- and -

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Proposed Co-Counsel for Debtors in Possession

                       CERTIFICATION OF ENDORSEMENT
                    UNDER LOCAL BANKRUPTCY RULE 9022-1(C)

       Pursuant to Local Bankruptcy Rule 9022-1(C), I hereby certify that the foregoing
proposed order has been endorsed by or served upon all necessary parties.

                                         /s/ Michael A. Condyles
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                                     Exhibit 1

                                 Bidding Procedures




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Dennis F. Dunne, Esq. (pro hac vice pending)                      Michael A. Condyles, Esq. (VA 27807)
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Proposed Co-Counsel for Debtors in Possession



                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                  RICHMOND DIVISION

                                                              )
In re:                                                        )        Chapter 11
                                                              )
GYMBOREE GROUP, INC., et al., 1                               )        Case No. 19-30258 (KLP)
                                                              )
                          Debtors.                            )        (Joint Administration Requested)
                                                              )
                                                              )

                                       BIDDING PROCEDURES

       On _______, 2019, the United States Bankruptcy Court for the Eastern District of
Virginia (the “Court”) entered an Order (the “Bidding Procedures Order”) approving the
following procedures (the “Bidding Procedures”) for the sale of some or all of the assets (the
“Assets”) of the above-captioned debtors in possession (collectively, the “Debtors”).

I.       KEY DATES AND DEADLINES

           No later than five business            Deadline for Debtors to file the Potential
           days after entry of the                Assumption and Assignment Notice
           Bidding Procedures Order



1
         The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
         number, are: Gymboree Group, Inc. (6587); Gymboree Intermediate Corporation (1473); Gymboree
         Holding Corporation (0315); Gymboree Wholesale, Inc. (6588); Gym-Mark, Inc. (6459); Gymboree
         Operations, Inc. (6463); Gymboree Distribution, Inc. (8669); Gymboree Manufacturing, Inc. (6464);
         Gymboree Retail Stores, LLC (6461); Gym-Card, LLC (5720); and Gymboree Island, LLC (1215). The
         Debtors’ service address is 71 Stevenson Street, Suite 2200, San Francisco, California 94105.
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           5:00 p.m. (prevailing Eastern          Deadline to file Cure Objections
           Time) on the date that
           is 14 days after filing of the
           Assumption and Assignment
           Notice
           January 25, 2019, at 5:00              Proposal Deadline
           p.m. (prevailing Eastern
           Time)
           February 11, 2019, at 5:00             Final Bid Deadline
           p.m. (prevailing Eastern
           Time) 2
           February 15, 2019, at 5:00             Deadline for objections to the Sale(s) other
           p.m. (prevailing Eastern               than Cure Objections and Adequate
           Time)                                  Assurance Objections
                                                  Auction
           February 25, 2019, at a time
           to be determined

                                                  Deadline to file Adequate Assurance
           February 28, 2019, at 5:00
                                                  Objections and objections to the conduct of
           p.m. (prevailing Eastern
                                                  the Auction and the identification of the
           Time)
                                                  Successful Bidder(s)
                                                  Deadline to file the replies in connection
           March 2, 2019, at 5:00 p.m.
                                                  with the applicable Sale(s)
           (prevailing Eastern Time)

           March 4, 2019, as                      Sale Hearing
           determined by, and subject
           to the availability of, the
           Court

II.    DUE DILIGENCE

        To be eligible to participate in the bidding process for any or all of the Assets, any
interested party (each, a “Prospective Bidder”) shall first deliver to each of the Bid Notice Parties
(as defined in Section X.A):

       •        an executed confidentiality agreement, in form and substance satisfactory to the
                Debtors;

       •        a statement and other factual support demonstrating to the Debtors’ reasonable
                satisfaction that the Prospective Bidder has a bona fide interest in purchasing the
                specified Assets; and

2
       Subject to Debtors’ extension right set forth in Section V of the Bidding Procedures.



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       •        preliminary proof of the Prospective Bidder’s financial capacity to close a
                proposed Sale.

        Any Prospective Bidder identified by the Debtors as reasonably likely to be a Qualified
Bidder (as defined below), upon execution of a confidentiality agreement, shall be granted access
to information regarding the relevant Assets. The Debtors shall be entitled to revoke due
diligence access to any Prospective Bidder that fails to become a Qualified Bidder.

        The Debtors will work to accommodate all reasonable requests for additional information
and due diligence access from Prospective Bidders. All due diligence requests shall be directed
to (i) the Debtors, The Gymboree Group, 71 Stevenson Street, Suite 2200, San Francisco,
California 94105 (Attn: Kimberly H. MacMillan, Esq.) and (ii) the Debtors’ investment banker,
Miller Buckfire, 787 7th Avenue, 5th Floor, New York, New York, 10019 (Attn: James Doak
(james.doak@millerbuckfire.com)).

III.   PROPOSALS

       A.       Proposal Deadline

        Written preliminary indications of interest (each, a “Proposal”) are to be submitted no
later than January 25, 2019 at 5:00 p.m. (prevailing Eastern Time) (the “Proposal Deadline”).

       B.       Proposal Requirements

       Proposals must contain the following information:

                1.       Identity of Purchaser and its Affiliates: A Proposal must specify the
                         identity of the legal entity that would acquire the specified Assets, the
                         ultimate holding company, the identity of all key shareholders and any
                         relevant history and/or experience in the industry. A Proposal must
                         disclose whether the Prospective Bidder or any of its representatives has,
                         or within the last 24 months had, any commercial relationship or dealings
                         with the Debtors or any of their directors and officers or any of the
                         Debtors’ prepetition secured lenders, and, if so, disclose in reasonable
                         detail information about such relationship and/or dealings.

                2.       Proposed Transaction: A Proposal must include the terms of the proposed
                         transaction, including, but not limited to:

                         a)       Identification of the Assets included in the proposed Sale; 3

                         b)       the liabilities, if any, to be assumed;


3
       The Debtors will consider bids for any or all of the Assets in a single bid from a single bidder or in multiple
       bids from multiple bidders. Any bid for particular Assets, even if such bid is the highest or best bid for
       such Assets, is subject to higher or better bids (i) on larger subsets of Assets that include the same Assets or
       (ii) multiple bids that, in the aggregate, constitute a higher or better bid.



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                     c)      total purchase price (and its Allocation (as defined below)) and
                             form of consideration; provided, however, that no such allocation
                             shall be required for a Proposal that constitutes a “credit bid” under
                             section 363(k) of the Bankruptcy Code (each, a “Credit Bid”),
                             except to the extent that such Proposal covers any Assets that are
                             subject to another party’s valid and perfected senior lien, in which
                             case the Proposal must identify the means of satisfying the
                             obligations of such secured party;

                     d)      a description of any significant assumptions on which the Proposal
                             is based;

                     e)      structure, terms and conditions of the proposed transaction;

                     f)      evidence of financial wherewithal to close the proposed Sale; and

                     g)      other economic matters to the extent material to the proposed
                             transaction.

              3.     Due Diligence: A Proposal must include a description of the due diligence
                     the Prospective Bidder needs to conduct, including a list of any due
                     diligence items it needs to review or confirm in order for it to enter into a
                     definitive agreement.

              4.     Material Conditions: A Proposal must list any other material conditions to
                     which the consummation of the proposed Sale would be subject.

              5.     Sources of Financing: A Proposal must include an indication of expected
                     sources of funds (including the amounts of debt and equity financing
                     necessary to fund the Sale together with the indications from any third
                     party sources of their commitment to provide such funds) and the steps
                     required (and anticipated timing) to obtain definitive funding
                     commitments. If the Prospective Bidder will be a newly formed entity, the
                     Proposal must identify the entity or entities that will provide backstops in
                     the form of a guarantee, equity commitment letter, or any other credit
                     support, and describe the nature of such support.

              6.     Required Approvals & Timing: A Proposal must include a description of
                     the level of review, authorization and approval within the Prospective
                     Bidder’s organization that the potential Sale has received to date and an
                     indication of any anticipated need (and associated timing) for further
                     corporate, shareholder, or regulatory authorization, approvals and waivers
                     and any other material conditions or time constraints related to closing.

IV.    STALKING HORSE AGREEMENTS

       The Debtors may, as they deem necessary and appropriate in the prudent exercise of their
business judgment, execute one or more “stalking horse” agreements (together with the J&J


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Stalking Horse Agreement, the “Stalking Horse Agreements”) for any subset of Assets and file a
motion for approval, on an expedited basis, of such Stalking Horse Agreement(s), including any
bid protections that may be provided therein.

V.     BID DEADLINE

        Any Prospective Bidder that intends to participate in the Auction must submit its final,
binding bid (a “Final Bid”) on or before February 11, 2019 at 5:00 p.m. (prevailing Eastern
Time) (the “Final Bid Deadline”) in writing to the Bid Notice Parties (as defined in
Section X.A); provided that the Debtors shall have the discretion to the extend in writing the
Final Bid Deadline for any Prospective Bidder . Any bid received after the Final Bid Deadline
will not constitute a Qualified Bid.

       Contemporaneously with the submission of its Final Bid, each Prospective Bidder (other
than the J&J Stalking Horse Bidder) must provide a Good Faith Deposit (as defined in
Section VI.A.7) by wire transfer or certified check pursuant to delivery instructions to be
provided by the Debtors prior to the Final Bid Deadline.

        The Debtors shall promptly provide copies of all Final Bids received to the Consultation
Parties (as defined below).

VI.    BID REQUIREMENTS

       A.     Qualified Bid Requirements

       In order for a Final Bid to qualify as a “Qualified Bid” (and any bidder that submits a
Qualified Bid, a “Qualified Bidder”), the Final Bid shall satisfy the following requirements:

              1.      Purchased Assets. The Final Bid shall identify the following:

                      a)      the Assets to be purchased, including any Contracts (including
                              Unexpired Leases) that would be assumed in connection with the
                              relevant Sale(s) (the “Proposed Assumed Contracts”);

                      b)      the liabilities, if any, to be assumed;

                      c)      the consideration offered (the “Purchase Price”); provided that, if
                              the Final Bid is for any Assets subject to one or more Stalking
                              Horse Agreement(s), (a) the bid shall allocate the Purchase Price
                              among the Assets subject to each such Stalking Horse Agreement
                              (the “Allocation”) and (b) the Purchase Price shall exceed the
                              applicable Stalking Horse Overbid(s) (as defined below);

                      d)      the proposed form of adequate assurance of future performance
                              with respect to the Proposed Assumed Contracts;




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                    e)      whether the Prospective Bidder intends to operate all or a portion
                            of the Debtors’ business as a going concern or to liquidate the
                            applicable Assets; and

                    f)      whether the Prospective Bidder intends to offer future employment
                            to any of the Debtors’ employees.

           2.       Identification of Bidder: The Final Bid shall fully disclose the identity of
                    each person or entity bidding for the applicable Assets or sponsoring,
                    financing (including through the issuance of debt in connection with such
                    bid), participating in such bid(including through license or similar
                    arrangement), and the complete terms of any such participation, and shall
                    also disclose any past or present connections or agreements with the
                    Debtors, any other known Prospective Bidder or Qualified Bidder, any
                    officer or director of the foregoing, and any of the Debtors’ prepetition
                    secured lender.

           3.       Asset Purchase Agreement: The Final Bid shall include (a) an executed
                    Asset Purchase Agreement based (i) with respect to any Assets subject to a
                    Stalking Horse Agreement, such Stalking Horse Agreement (including all
                    exhibits and schedules thereto), and (ii) with respect to any other Asset, on
                    the form asset purchase agreement provided by the Debtors (including all
                    exhibits and schedules thereto), (b) a proposed sale order based on (i) with
                    respect to any Assets subject to a Stalking Horse Agreement, on the sale
                    order proposed by the relevant Stalking Horse Bidder and (ii) with respect
                    to any other Assets, on the Sale Order, and (c) copies of the foregoing,
                    marked to show any proposed amendments and modifications to each.

           4.       Credit Bidding: A Credit Bid shall be applied only to the Assets in which
                    the party submitting the Credit Bid holds a validly perfected security
                    interest.

           5.       Financial Information. The Final Bid shall include a statement:

                    a)      that the Prospective Bidder is financially capable of consummating
                            the Sale contemplated by the applicable Asset Purchase
                            Agreement, together with the Prospective Bidder’s audited
                            financial statements for the prior two years and pro forma capital
                            structure; and

                    b)      setting forth in reasonable detail the proposed structure and
                            material terms of such financing.

           6.       Good Faith Deposit: Each Qualified Bid (including each Qualified Bid
                    that includes a Credit Bid other than the J&J Credit Bid) shall be
                    accompanied by a good faith deposit (a “Good Faith Deposit”) in the form
                    of cash (or other form acceptable to the Debtors in their sole and absolute
                    discretion) in an amount equal to 10% of the Purchase Price (inclusive of

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                    any Credit Bid). All Good Faith Deposits shall be held in escrow in a
                    non-interest-bearing account identified by the Debtors until no later than
                    five business days after the conclusion of the Auction and thereafter
                    returned to the respective Qualified Bidders in accordance with the
                    Bidding Procedures or, in the case of Stalking Horse Bidder(s), if any, in
                    accordance with the applicable Stalking Horse Agreement(s); provided,
                    however, that if a bidder is selected as the Successful Bidder or as a
                    Backup Bidder, such bidder’s Good Faith Deposit shall be (i) in the case
                    of the Backup Bidder, returned the earlier of five business days after the
                    closing of the applicable Sale(s) or 60 days after the date of the Sale
                    Hearing; and (ii) in the case of the Successful Bidder, credited toward the
                    Purchase Price. The Debtors reserve the right to increase the Good Faith
                    Deposit in their sole and reasonable discretion.

           7.       Adequate Assurance: The Final Bid shall include evidence of the
                    Prospective Bidder’s ability to perform future obligations arising under the
                    Proposed Assumed Contracts, in a form that will permit immediate
                    dissemination of such evidence to the applicable Counterparties.

           8.       Authorization: The Final Bid shall include evidence of authorization and
                    approval from the Prospective Bidder’s board of directors (or comparable
                    governing body) with respect to the Final Bid, participation in the Auction
                    and closing of the proposed Sale; provided that, if the Prospective Bidder
                    is an entity specially formed for the purpose of purchasing the relevant
                    Assets, the Final Bid must provide written evidence acceptable to the
                    Debtors of the approval by the equity holder(s) of such Prospective
                    Bidder.

           9.       Other Requirements: A Qualified Bid shall:

                    a)      state that the bid is not subject to or conditioned on any further due
                            diligence or financing contingencies of any kind; and be
                            irrevocable until the selection of the Successful Bid; provided that
                            if the Prospective Bidder is the Successful Bidder or Backup
                            Bidder, its bid must remain irrevocable until the earlier of (i) the
                            consummation of a Sale(s) with the Successful Bidder(s) and (ii)
                            60 days after the date of the Sale Hearing;

                    b)      if the bid is for Assets subject to a Stalking Horse Agreement, state
                            that the bid is not subject to conditions more burdensome than
                            those in such Stalking Horse Agreement;

                    c)      state that the Prospective Bidder is committed to closing the Sale
                            contemplated by the bid as soon as practicable;




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                       d)      unless otherwise approved by the Court with respect to a particular
                               Stalking Horse Bid, expressly acknowledge that the Prospective
                               Bidder shall not be entitled to any bid protections;

                       e)      expressly waive any right to assert an administrative expense claim
                               for substantial contribution under section 503(b) of the Bankruptcy
                               Code in connection with bidding for the applicable Assets and/or
                               participating in the Auction;

                       f)      not contain any condition to closing of the proposed Sale on the
                               receipt of any third party approvals (excluding Court approval);

                       g)      state that the Prospective Bidder agrees to serve as a backup bidder
                               (a “Backup Bidder”) if such bidder’s Qualified Bid is selected as
                               the next highest or best bid after the Successful Bid with respect to
                               the applicable Assets;

                       h)      include contact information for the specific person(s) the Debtors
                               should contact in the event they have any questions about such
                               Final Bid;

                       i)      be received by the Bid Notice Parties by the Final Bid Deadline;

                       j)      certify that the Prospective Bidder did not collude with any other
                               bidders and is not otherwise a partnership, joint venture or other
                               entity in which more than one bidder (or any of its affiliates) has a
                               direct or indirect interest, unless consented to in writing by the
                               Debtors; and

                       k)      certify compliance with the Debtors’ consumer data privacy policy
                               that restricts the transfer of personally identifiable information of
                               the Debtors’ customers.

       B.      Qualified Bidders

        A Final Bid that is determined by the Debtors, in consultation with the Consultation
Parties, to meet the requirements set forth in Section VI.A will be considered a “Qualified Bid”
and any bidder that submits a Qualified Bid will be considered a “Qualified Bidder.” The J&J
Stalking Horse Bidder is a Qualified Bidder and the J&J Stalking Horse Agreement is a
Qualified Bid. Upon Court’s approval, (i) any Stalking Horse Bidder will be a Qualified Bidder,
(ii) any Stalking Horse Bids will be Qualified Bids.

        The Debtors, in consultation with the Consultation Parties, will evaluate a Qualified Bid
using any and all factors that the Debtors deem reasonably pertinent, including, without
limitation, (i) the amount of the Purchase Price, including the form of consideration; (ii) the risks
and timing associated with consummating a Sale with the Qualified Bidder, (iii) any Assets
included in or excluded from the Qualified Bid, including any Proposed Assumed Contracts, and
(iv) the ability to obtain any and all necessary regulatory approvals for the proposed Sale(s).


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       The Debtors shall make a determination regarding which Final Bid(s) qualify as
Qualified Bid(s) and notify all Prospective Bidders whether they have been selected as Qualified
Bidders prior to the Auction. Within 24 hours of the receipt of adequate assurance information
from any Qualified Bidder, but in no event later than 24 hours after the Final Bid Deadline, the
Debtors shall provide adequate assurance information received from each Qualified Bidder to
any Counterparty whose Contract would be assumed pursuant to such Qualified Bidder’s
proposed purchase agreement.

VII.   THE AUCTION

       If the Debtors receive more than one Qualified Bid for any of the Assets, the Debtors
shall conduct the Auction. The Auction, if required, shall be conducted at the offices of
Milbank, Tweed, Hadley & McCloy LLP, 55 Hudson Yards New York, New York 10001 on
February 25, 2019, at a time to be determined, or at such other time and location as designated
by the Debtors.

        If the Debtors receive no more than one Qualified Bid (including any Stalking Horse
Bid(s)) with respect to any of the Assets, the Debtors may determine, in their reasonable
discretion, not to hold the Auction for such Assets and instead declare such Qualified Bid(s) as
the Successful Bid(s) on such Assets and request that the Court approve the applicable Asset
Purchase Agreement at the Sale Hearing.

        All bidders at the Auction shall be deemed to have consented to the core jurisdiction of
the Court and waived any right to jury trial in connection with any disputes relating to the
Auction, the Sale(s) and the construction and enforcement of any Stalking Horse Agreement(s)
and all other agreements entered into in connection with any Sale(s).

       A.     Participants and Attendees

        Only Qualified Bidders are eligible to participate in the Auction, subject to other
limitations that may be reasonably imposed by the Debtors in consultation with the Consultation
Parties. Qualified Bidders participating in the Auction must appear at the Auction in person or
through a duly authorized representative. Subject to the Auction procedures set forth in
Section VII.B, the Auction will be conducted openly and all Qualified Bidders and the
Consultation Parties are permitted to attend; provided that the Debtors may, in their sole and
exclusive discretion, establish a reasonable limit on the number of representatives and/or
professional advisors that may appear on behalf of or accompany each Qualified Bidder at the
Auction.

       Each Qualified Bidder participating in the Auction will be required to confirm in writing
and on the record at the Auction that (i) it has not engaged in any collusion with respect to the
submission of any bid or the Auction and (ii) each Qualified Bid it submits at the Auction is a
binding, good faith and bona fide offer to purchase the Assets identified in such bid.




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       B.     Auction Procedures

         The Auction shall be governed by the following procedures, subject to the Debtors’ right
to modify such procedures in their reasonable discretion, in consultation with the Consultation
Parties:

              1.      Baseline Bids. Prior to the commencement of the Auction, the Debtors
                      shall provide copies of the Qualified Bid(s) that the Debtors determine in
                      their reasonable business judgment, after consultation with the
                      Consultation Parties, to be the highest or otherwise best Qualified Bid(s)
                      for particular Assets (the “Baseline Bid(s)”) to all other Qualified Bidders
                      who have submitted Qualified Bid(s) for such Assets. Bidding at the
                      Auction shall commence at the amount of the Baseline Bid(s).

              2.      Minimum Overbid. At each round of bidding, for each subset of Assets,
                      Qualified Bidders shall submit bids that are higher than the Leading Bid
                      (as defined below) for such Assets from the prior round (or, for the first
                      round, the relevant Baseline Bid), by at least the increment the Debtors
                      determine and announce prior to such round of bidding) (the “Minimum
                      Overbid”); provided, however, that, to the extent that the Baseline Bid is a
                      Stalking Horse Bid, the bidding for the relevant Assets shall start at an
                      amount equal to the sum of: (i) the Baseline Bid, (ii) the aggregate
                      amount of the applicable bid protections, if any, and (iii) the Minimum
                      Overbid (the “Stalking Horse Overbid”). The Debtors shall, in their
                      reasonable discretion, announce increases or reductions to Minimum
                      Overbids or Stalking Horse Overbids at any time during the Auction.

                      Additionally, upon a Qualified Bidder’s declaration of its bid, it shall
                      commit on the record that, if such bid is to be the Successful Bid or the
                      Backup Bid, it shall, following the Auction, pay the additional Good Faith
                      Deposit, calculated on the basis of the increased Purchase Price (the
                      “Incremental Deposit Amount”).

              3.      Highest or Best Offer. After the first round of bidding and between each
                      subsequent round of bidding, the Debtors shall announce, in consultation
                      with the Consultation Parties, the bid that they believe to be the highest or
                      otherwise best offer for the applicable Assets (each, the “Leading Bid”)
                      and describe the material terms thereof. Each round of bidding shall
                      conclude after each participating Qualified Bidder has had the opportunity
                      to submit a subsequent bid with full knowledge of the Leading Bid.

                      The Debtors shall have the right to determine, in their reasonable
                      discretion, and in consultation with the Consultation Parties, which bid (or
                      combination of bids) is the highest or otherwise best bid with respect to
                      the applicable Assets and reject, at any time, without liability, any bid that
                      the Debtors deem to be inadequate or insufficient, or not in conformity
                      with the requirements of the Bankruptcy Code, the Bidding Procedures,


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                    any order of the Court, or the best interests of the Debtors and their
                    estates.

                    Each Leading Bid shall remain open and binding on the applicable
                    Qualified Bidder until and unless (i) the Debtors accept as a Leading Bid
                    for the same Assets a bid by another Qualified Bidder during the Auction
                    and (ii) such Leading Bid is not selected as the Backup Bid.

           4.       No Round-Skipping. To remain eligible to participate in the Auction for a
                    particular subset of Assets, (i) each Qualified Bidder shall submit a bid in
                    each round of bidding for such Assets that is higher or otherwise better
                    than the immediately preceding bid submitted in such round of bidding
                    and (ii) to the extent a Qualified Bidder fails to bid at each round of
                    bidding or to submit a bid in each round of bidding that is higher or
                    otherwise better than the immediately preceding bid for the applicable
                    Assets submitted in such round of bidding, such Qualified Bidder shall be
                    disqualified from continuing to participate in the Auction for the
                    applicable Assets.

      C.   Auction Results

           1.       Successful Bids. Immediately prior to the conclusion of the Auction, the
                    Debtors, in consultation with the Consultation Parties, shall (a) determine,
                    consistent with the Bidding Procedures, which bid(s) constitutes the
                    highest or otherwise best bid for the applicable Asset (each, a “Successful
                    Bid”) and (b) notify all Qualified Bidders bidding for the applicable
                    Assets at the Auction of the identity of the bidder that submitted the
                    Successful Bid (each, the “Successful Bidder”) for such Assets and the
                    amount of the Purchase Price and other material terms of the Successful
                    Bid. As a condition to remaining the Successful Bidder, each Successful
                    Bidder shall wire to the Debtors, in immediately available funds, the
                    Incremental Deposit Amount, calculated based on the Purchase Price of its
                    Successful Bid, no later than one business day following the date on which
                    the applicable Successful Bid is announced.

           2.       Backup Bids. Prior to the conclusion of the Auction, the Debtors shall (i)
                    determine, in consultation with the Consultation Parties, which Qualified
                    Bid is the next highest or otherwise best Qualified Bid after the Successful
                    Bid for the applicable Assets (each, a “Backup Bid”) and (ii) notify all
                    Qualified Bidders bidding for the applicable Assets of the identity of the
                    relevant Backup Bidder and the amount of the Purchase Price and other
                    material terms of its Backup Bid. Each Backup Bidder shall wire to the
                    Debtors, in immediately available funds, the Incremental Deposit Amount,
                    based on the Purchase Price of its Backup Bid, no later than one business
                    day following the date on which the applicable Backup Bid is announced.




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               3.      The Backup Bid(s) shall remain binding on the Backup Bidder(s) until the
                       earlier of (i) the closing of the Sale for the applicable Assets and (ii) 60
                       days after the date of the Sale Hearing. If the Successful Bidder(s) for the
                       applicable Assets fail to consummate the Sale(s), the Backup Bidder(s)
                       shall be deemed the new Successful Bidder(s) for the applicable Assets,
                       and the Debtors shall be authorized, but not required, to consummate the
                       Sale(s) of the applicable Assets to the Backup Bidder(s).

        On or before one business day after the conclusion of the Auction, the Debtors shall file
with the Court, serve on the Sale Notice Parties and cause to be published on the website
maintained by the Debtors’ claims and noticing agent, Prime Clerk, LLC,
http://cases.primeclerk.com/gym (the “Prime Clerk Website”), the results of the Auction, which
shall include (i) a copy of all Successful Bid(s) and Backup Bid(s), if any; and (ii) the identities
of the Successful Bidder(s) and Backup Bidder(s).

        As soon as reasonably practicable after the conclusion of the Auction, the Debtors shall
file with the Court, serve on the Sale Notice Parties, by email, and cause to be published on the
Prime Clerk Website, (i) the Notice of the Proposed Assumed Contracts; and (ii) each Successful
Bidder’s and Backup Bidder’s proposed form of adequate assurance of future performance with
respect to the relevant Proposed Assumed Contracts (the “Proposed Assumed Contracts
Notice”).

       D.      Return of Good Faith Deposits

         The Good Faith Deposits shall be held in escrow by the Debtors in a non-interest-bearing
escrow or trust account and shall not become property of the Debtors’ estates. The Good Faith
Deposits shall be retained by the Debtors, notwithstanding Court approval of any Sale(s) for the
applicable Assets, until no later than five business days after the conclusion of the Auction,
except for the Good Faith Deposit(s) of Successful Bidder(s) and Backup Bidder(s); provided
that, if a Stalking Horse Bidder is not the Successful Bidder or Backup Bidder, its Good Faith
Deposit shall be returned to such Stalking Horse Bidder in accordance with the applicable
Stalking Horse Agreement(s). The Debtors shall retain the Good Faith Deposits of Backup
Bidders until the earlier of (i) five business days after the closing of the Sale(s) of the applicable
Assets and (ii) 60 days after the date of the Sale Hearing.

        At the closing of a Sale, the Successful Bidder shall be entitled to a credit for the amount
of its Good Faith Deposit. If a Successful Bidder fails to consummate a Sale because of a breach
that entitles the Debtors to terminate the applicable Asset Purchase Agreement, then, the Debtors
shall be entitled to retain such Successful Bidder’s Good Faith Deposit as partial compensation
for the damages caused to the Debtors and their estates as a result of such breach or failure to
perform.

VIII. SALE HEARING

       Each Successful Bid (including any Backup Bid that is subsequently deemed a Successful
Bid) shall be subject to approval by the Court. The hearing to approve the Sale(s) shall take
place on March 4, 2019 at [__:_] [a/p].m. (prevailing Eastern Time) (the “Sale Hearing”)


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before the Honorable Keith L. Phillips, United States Bankruptcy Judge, in the United States
Bankruptcy Court for the Eastern District of Virginia, located at 701 East Broad Street, Suite
4000, Richmond, Virginia 23219.

       At the Sale Hearing, the Debtors shall seek entry of order(s) (each, a “Sale Order”)
approving, among other things, the Sale(s) of some or all of the Assets to the Successful
Bidder(s). The Sale Hearing may be adjourned or rescheduled by the Debtors.

         The Debtors may reject at any time, before entry of the applicable Sale Order, any bid
that, in the Debtors’ judgment, following consultation with the Consultation Parties, is
(i) inadequate or insufficient, (ii) not in conformity with the requirements of the Bankruptcy
Code or the Bidding Procedures, or (iii) contrary to the best interests of the Debtors and their
estates.

        The Debtors’ presentation to the Court for approval of any Successful Bid does not
constitute the Debtors’ acceptance of such bid. The Debtors will have accepted a Successful Bid
only when such Successful Bid has been approved by the Court at the Sale Hearing. Upon the
Court’s approval of a Successful Bid, the Debtors shall be bound by the terms of that Successful
Bid.

        Objections to a Sale, including any objection to the sale of any Assets free and clear of
liens, claims, interests, and encumbrances pursuant to section 363(f) of the Bankruptcy Code
(each, a “Sale Objection”), or to entry of a Sale Order shall (i) be in writing and specify the
nature of such objection; (ii) comply with the Bankruptcy Code, Bankruptcy Rules, Local
Bankruptcy Rules, and all orders of the Court; and (iii) be filed with the Court and served on the
Objection Recipients by February 15, 2019 at 5:00 p.m. (prevailing Eastern Time).

        All Sale Objections not resolved by the parties prior thereto shall be heard at the Sale
Hearing. The failure of any party to timely file with the Court and serve on the Objection
Recipients a Sale Objection forever shall bar such party from asserting, at the applicable Sale
Hearing or thereafter, any objection to the relief requested in the Motion, or to the consummation
of the applicable Sale(s), including the transfer of the Assets to the applicable Successful
Bidder(s), free and clear of all liens, claims, interests, and encumbrances pursuant to
section 363(f) of the Bankruptcy Code.

        Notwithstanding the foregoing, the deadline to file an objection to a Successful Bidder’s
proposed form of adequate assurance of future performance with respect to a Proposed Assumed
Contract in connection with a proposed Sale or objections to the conduct of the Auction and the
identification of the Successful Bidder(s) shall be February 28, 2019 at 5:00 p.m. (prevailing
Eastern time). If a Successful Bidder fails to consummate the approved Sale, a hearing to
authorize the assumption and assignment of Proposed Assumed Contracts to the applicable
Backup Bidder(s) shall be held before the Court on no less than five business days’ notice, with
objections due at least one business day prior to such hearing, unless otherwise ordered by the
Court. For the avoidance of doubt, the scope of such hearing shall be limited to issues relating to
the adequate assurance of future performance by the Backup Bidder(s).




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IX.    MODIFICATION OF PROCEDURES

        The Debtors may, in any manner consistent with the Debtors’ fiduciary duties and
applicable law, modify the procedures and deadlines set forth herein (including, without
limitation, extending the Final Bid Deadline, modifying the Qualified Bid requirements,
modifying the procedures for conducting the Auction, rescheduling the Auction or adjourning
the Sale Hearing) or adopt new rules, procedures and deadlines in order to, in their sole and
reasonable discretion, better maximize value for their estates; provided that the Debtors may not
amend these Bidding Procedures or the bidding process to reduce or otherwise modify their
obligations to consult with any Consultation Party without the consent of such Consultation
Party or further order of the Court. All such modifications and additional rules shall be
communicated to each of the Consultation Parties, the Sale Notice Parties, Prospective Bidders
and Qualified Bidders; provided that, to the extent such modifications occur at the Auction,
disclosure of such modifications may be limited to those in attendance at the Auction.

X.     NOTICING

       A.     Bid Notice Parties

        Qualified Bids shall be submitted in writing to (i) the Debtors, The Gymboree Group, 71
Stevenson Street, Suite 2200, San Francisco, California, 94105 (Attn: Kimberly H. MacMillan,
Esq.); (ii) co-counsel for the Debtors, (a) Milbank, Tweed, Hadley & McCloy LLP, 28 Liberty
Street, New York, New York, 10005 (Attn: Dennis F. Dunne, Esq. (ddunne@milbank.com),
Evan R. Fleck, Esq. (efleck@milbank.com), and Michael W. Price, Esq.
(mprice@milbank.com)) and (b) Kutak Rock LLP, 901 East Byrd Street, Suite 1000, Richmond,
Virginia 23219 (Attn: Michael A. Condyles, Esq. (michael.condyles@kutakrock.com), Peter J.
Barrett,      Esq.     (peter.barrett@kutakrock.com),        Jeremy      S.    Williams,   Esq.
(jeremy.williams@kutakrock.com),            and      Brian        H.        Richardson,    Esq.
(brian.richardson@kutakrock.com)); and (iii) the Debtors’ investment banker, Miller Buckfire,
787 7th Avenue, 5th Floor, New York, New York 10019 (Attn: James Doak
(james.doak@millerbuckfire.com)) (the foregoing entities in clauses (i) through (iii), the “Bid
Notice Parties”).

       B.     Sale Notice Parties

              1.      Sale Notice Parties. The “Sale Notice Parties” shall include the following:
                      (a) the Consultation Parties, (b) counsel to the Stalking Horse Bidder(s),
                      (c) all Counterparties, (d) all persons and entities known by the Debtors to
                      have expressed an interest in the Assets during the past 12 months, (e) all
                      persons and entities known by the Debtors to have asserted any lien,
                      claim, interest, or encumbrance with respect to the Assets (for whom
                      identifying information and addresses are available to the Debtors), (f) any
                      governmental authority known to have a claim against the Debtors, (g) the
                      United States Attorney General, (h) the Antitrust Division of the United
                      States Department of Justice, (i) the United States Attorney for the Eastern
                      District of Virginia, (j) the Office of the Attorney General in each state in
                      which the Debtors operate, (k) the Federal Trade Commission, (l) the


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                      Office of the United States Trustee for the Eastern District of Virginia,
                      (m) counsel for any official committee appointed in these cases, (n) the
                      Internal Revenue Service, (o) the United States Securities and Exchange
                      Commission, (p) all of the Debtors’ known creditors (for whom
                      identifying information and addresses are known to the Debtors), (q) all
                      parties who have filed a notice of appearance and request for service of
                      papers in these Cases pursuant to Bankruptcy Rule 2002 and (r) all other
                      persons and entities as directed by the Court.

       C.      Objection Recipients

        Sale Objections shall be filed in accordance with these Bidding Procedures and served on
(i) the Debtors, The Gymboree Group, 71 Stevenson Street, Suite 2200, San Francisco,
California 94105 (Attn: Kimberly H. MacMillan, Esq.); (ii) counsel for the Debtors, (a) Milbank,
Tweed, Hadley & McCloy LLP, 28 Liberty Street, New York, New York, 10005 (Attn: Dennis
F. Dunne, Esq. (ddunne@milbank.com), Evan R. Fleck, Esq. (efleck@milbank.com), and
Michael W. Price, Esq. (mprice@milbank.com)) and (b) Kutak Rock LLP, 901 East Byrd Street,
Suite 1000, Richmond, Virginia 23219 (Attn: Michael A. Condyles, Esq.
(michael.condyles@kutakrock.com), Peter J. Barrett, Esq. (peter.barrett@kutakrock.com),
Jeremy S. Williams, Esq. (jeremy.williams@kutakrock.com), and Brian H. Richardson, Esq.
(brian.richardson@kutakrock.com); (iii) counsel for the Committee, (iv) counsel for the DIP
Lender and the Pre-Petition First Lien Lender, (v) counsel for the Consultation Parties,
(vi) counsel to any applicable Successful Bidder(s), (vii) counsel to any applicable Backup
Bidder(s), (viii) counsel to any applicable Stalking Horse Bidder(s) and (ix) the Office of the
United States Trustee for the Eastern District of Virginia (collectively, the “Objection
Recipients”).

       D.      Assumption and Assignment

       The Debtors shall provide all notices regarding the proposed assumption and assignment
of Contracts in accordance with the Assumption and Assignment Procedures set forth in the
Bidding Procedures Order.

XI.    CONSULTATION BY THE DEBTORS

        Where indicated, the Debtors shall consult with the advisors to any official committee,
counsel to their prepetition ABL lenders, and, to the extent SSIG is no longer an active bidder for
any of the Assets, SSIG’s advisors (collectively, the “Consultation Parties”).




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Dated: January 17, 2019          /s/ Michael A. Condyles
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                                 Jeremy S. Williams, Esq. (VA 77469)
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                                 -and-

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                                 Proposed Co-Counsel for Debtors in Possession




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                                     Exhibit 2

                       Assumption and Assignment Notice
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Dennis F. Dunne, Esq. (pro hac vice pending)                      Michael A. Condyles, Esq. (VA 27807)
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                                                                  Facsimile:      (804) 783-6192
Proposed Co-Counsel for Debtors in Possession



                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                  RICHMOND DIVISION

                                                              )
In re:                                                        )        Chapter 11
                                                              )
GYMBOREE GROUP, INC., et al., 1                               )        Case No. 19-30258 (KLP)
                                                              )
                          Debtors.                            )        (Joint Administration Requested)
                                                              )
                                                              )

                     NOTICE OF POSSIBLE ASSUMPTION
                 AND ASSIGNMENT OF CERTAIN EXECUTORY
         CONTRACTS AND UNEXPIRED LEASES IN CONNECTION WITH SALE

PLEASE TAKE NOTICE OF THE FOLLOWING:

       1.      On _________, 2019, the United States Bankruptcy Court for the Eastern District
of Virginia (the “Court”) entered an Order (the “Bidding Procedures Order”) authorizing certain
procedures to be used in connection with the sale(s) (the “Sale(s)”) of the assets (the “Assets”) of
the above-captioned debtors (the “Debtors”).

       2.      On March 4, 2019 at [_:__] [a/p].m. (prevailing Eastern Time), a hearing (the
“Sale Hearing”) will take place before the Honorable Keith L. Phillips, United States Bankruptcy
Judge, 701 East Broad Street, Suite 4000, Richmond, Virginia 23219, where the Debtors will

1
         The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
         number, are: Gymboree Group, Inc. (6587); Gymboree Intermediate Corporation (1473); Gymboree
         Holding Corporation (0315); Gymboree Wholesale, Inc. (6588); Gym-Mark, Inc. (6459); Gymboree
         Operations, Inc. (6463); Gymboree Distribution, Inc. (8669); Gymboree Manufacturing, Inc. (6464);
         Gymboree Retail Stores, LLC (6461); Gym-Card, LLC (5720); and Gymboree Island, LLC (1215). The
         Debtors’ service address is 71 Stevenson Street, Suite 2200, San Francisco, California 94105.
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present for the Court’s approval one or more bid(s) for the Assets (each, a “Successful Bid”).
The Debtors will have accepted the terms of any Successful Bid only when such bid has been
approved by the Court.

       3.      In connection with the Sale(s), potential purchasers of the Assets may wish to
assume certain of the Debtors’ executory contracts or unexpired leases (collectively, the
“Contracts”). Pursuant to the Bidding Procedures Order, the Debtors hereby notify all
counterparties to such Contracts that their Executory Contract or Unexpired Lease may be
assumed by the Debtors and assigned to those potential purchasers that submit winning bid(s) for
the Assets (“Successful Bidders”). The list of such Contracts is attached hereto as Schedule 1.
Schedule 1 also indicates for each Executory Contract and Unexpired Lease the amount, if any,
that the Debtors believe is required to be paid to the applicable Counterparty to cure any
monetary defaults under such Executory Contract or Unexpired Lease pursuant to
sections 365(b)(1)(A) and (B) of the Bankruptcy Code (“Cure Costs”). The Debtors’ inclusion
of any Contracts on Schedule 1 or any other notice served in connection with the Sale(s)
shall not be a guarantee that such Executory Contract or Unexpired Lease ultimately will
be assumed or assigned.

        4.      Any Counterparty that wishes to object to the proposed Cure Costs for its
Contract (each, a “Cure Objection”) must file with the Court and serve its Cure Objection on
(a) the Debtors, The Gymboree Group, 71 Stevenson Street, Suite 2200, San Francisco,
California, 94105 (Attn: Kimberly H. MacMillan, Esq.); (b) counsel for the Debtors, (i) Milbank,
Tweed, Hadley & McCloy LLP, 28 Liberty Street, New York, New York, 10005 (Attn: Dennis
F. Dunne, Esq. (ddunne@milbank.com), Evan R. Fleck, Esq. (efleck@milbank.com), and
Michael W. Price, Esq. (mprice@milbank.com)) and (ii) Kutak Rock LLP, 901 East Byrd Street,
Suite 1000, Richmond, Virginia 23219 (Attn: Michael A. Condyles, Esq.
(michael.condyles@kutakrock.com), Peter J. Barrett, Esq. (peter.barrett@kutakrock.com),
Jeremy S. Williams, Esq. (jeremy.williams@kutakrock.com), and Brian H. Richardson, Esq.
(brian.richardson@kutakrock.com)); (c) counsel for the official committee of unsecured creditors
appointed in these chapter 11 cases; (d) counsel (if applicable) of any Stalking Horse Bidder(s);
(e) counsel (if applicable) of any applicable Successful Bidder(s); (f) counsel (if applicable) of
any Backup Bidder(s) (as defined in the Bidding Procedures); and (g) the Office of the United
States Trustee for the Eastern District of Virginia, (collectively, the “Objection Recipients”) no
later than 5:00 p.m. (prevailing Eastern Time) on the date that is 14 days from the service
of this Assumption and Assignment Notice, ___________, 2019.

        5.      Any Cure Objection must state, with specificity, the legal and factual bases
therefor, including any appropriate documentation in support thereof.

        6.     The Bidding Procedures Order requires that the Debtors and a Counterparty that
has filed a Cure Objection first confer in good faith to attempt to resolve the Cure Objection
without Court intervention. If the parties are unable to consensually resolve the Cure Objection
prior to the commencement of the Sale Hearing, the Court shall make all necessary
determinations relating to the applicable Cure Objections at or subsequent to the Sale Hearing;
provided that the determination of whether a Cure Objection may be heard at the Sale Hearing is
in the Debtors’ and the Court’s discretion. The relevant Asset Purchase Agreement will provide
for the establishment of a cash reserve equal to the cure amount the objecting Counterparty


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reasonably believes is required to cure the asserted monetary default under the applicable
Executory Contract or Unexpired Lease (or as otherwise ordered by the Court). Upon the
Court’s resolution of any Cure Objection, whether or not such resolution occurs prior to or after
the closing of the applicable Sale, the Debtors or the applicable Successful Bidder, as applicable,
will have the right to exclude the Contract or Lease subject to such Cure Objection from the
Assets to be sold as part of the applicable Sale.

       7.     If a Counterparty fails to timely file with the Court and serve on the
Objection Recipients a Cure Objection, the Counterparty will be deemed to have consented
to the Cure Costs set forth in Schedule 1 and forever will be barred from asserting any
objection to such Cure Costs or any other claims related to the applicable Contract or
Lease against the Debtors or any Successful Bidder(s) or their respective property, and
such Cure Costs will constitute the only amount necessary to cure outstanding defaults
under the applicable Executory Contract or Unexpired Lease in accordance with
section 365(b) of the Bankruptcy Code, notwithstanding anything to the contrary in such
Contract, or any other document.

       8.     In the event that the Debtors identify any Counterparties that were not served with
this Assumption and Assignment Notice, the Debtors may subsequently serve such Counterparty
with an Assumption and Assignment Notice, and the following procedures will nevertheless
apply to such Counterparty; provided, however, that the deadline for such Counterparty to file a
Cure Objection will be 5:00 p.m. (prevailing Eastern Time) on the date that is seven days
following service of such modified Assumption and Assignment Notice.

         9.     As soon as reasonably practicable after the conclusion of the Auction (currently
scheduled for February 25, 2019), but no later than _______, 2019, the Debtors will file with the
Court, serve on each applicable Counterparty, and cause to be published on the website dedicated
to the Debtors’ chapter 11 cases maintained by their claims and noticing agent, Prime Clerk LLC
(http://cases.primeclerk.com/gym) (the “Prime Clerk Website”) a list of the Contracts that the
Successful Bidders have actually selected for assumption (the “Proposed Assumed Contracts”).
Any Counterparty to a Proposed Assumed Contract that wishes to object to the proposed
assumption and assignment of its Proposed Assumed Contract, based on the applicable
Successful Bidder’s proposed form of adequate assurance of future performance under such
Proposed Assumed Contract (each, an “Adequate Assurance Objection”), must file such
objection with the Court and serve it on the Objection Recipients by no later than February 28,
2019, at 5:00 p.m. (prevailing Eastern Time).

        10.     Each Adequate Assurance Objection must state, with specificity, the legal and
factual bases therefor, including any appropriate documentation in support thereof.

        11.   The Bidding Procedures Order requires that the Debtors and a Counterparty that
has filed an Adequate Assurance Objection first confer in good faith to attempt to resolve the
Adequate Assurance Objection without Court intervention. If the parties are unable to
consensually resolve the Adequate Assurance Objection prior to the commencement of the Sale
Hearing, such objection and all issues of adequate assurance of future performance by the
applicable Successful Bidder shall be determined by the Court at the Sale Hearing.



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       12.    If a Counterparty fails to timely file with the Court and serve on the
Objection Recipients an Adequate Assurance Objection, the Counterparty shall be deemed
to have consented to the assumption and assignment of the Proposed Assumed Contract to
the applicable Successful Bidder (unless the Counterparty has filed a timely Cure
Objection with respect to the Proposed Assumed Contract) and adequate assurance of
future performance in connection therewith and forever shall be barred from asserting any
objection with regard to such assumption and assignment or adequate assurance of future
performance. The applicable Successful Bidder shall be deemed to have provided adequate
assurance of future performance with respect to the applicable Proposed Assumed
Contract in accordance with section 365(f)(2)(B) of the Bankruptcy Code, notwithstanding
anything to the contrary in the Proposed Assumed Contract, or any other document.

       13.     The inclusion of an Executory Contract or Unexpired Lease on Schedule 1 or on
any subsequently filed list(s) of Proposed Assumed Contracts (collectively, the “Contract
Notices”) shall not constitute or be deemed a determination or admission by the Debtors, the
applicable Successful Bidder(s), or any other party in interest that such Contracts is an executory
contract or an unexpired lease within the meaning of the Bankruptcy Code or that the stated Cure
Costs are due (all rights with respect thereto being expressly reserved).

       14.    The Debtors fully reserve the right to amend, modify or supplement the Contract
Notices; provided that the deadline for any Counterparty that is added to an amended Contract
Notice or whose Cure Costs are reduced to file (a) a Cure Objection shall be 5:00 p.m.
(prevailing Eastern Time) on the date that is seven days following service of the applicable
amended Contract Notice; and (b) an Adequate Assurance Objection by the earlier of one
business day following the service of the applicable amended Contract Notice or the date of
the Sale Hearing; provided, however, that if such date is after the date of the Sale Hearing, the
Counterparty need not file a written Adequate Assurance Objection and may instead make its
Adequate Assurance Objection on the record at the Sale Hearing.

       15.    The Contract Notices shall be without prejudice to the Debtors’ and/or each
Successful Bidder’s rights to subsequently exclude any Proposed Assumed Contract from the
assumption prior to the closing of the applicable Sale(s).

       16.     The Debtors’ assumption and assignment of an Executory Contract or Unexpired
Lease is subject to approval by the Court and consummation of the relevant Sale. Absent entry
of a Sale Order(s) approving the assumption and/or assignment of an Executory Contract or
Unexpired Lease and the consummation of the relevant Sale, the Executory Contract or
Unexpired Lease shall be deemed neither assumed nor assigned.

        17.     Copies of the Bidding Procedures Order and the Bidding Procedures may be
obtained free of charge at the Prime Clerk Website. Copies of these documents are also
available for inspection during regular business hours at the Office of the Clerk of the Court,
located at 701 East Broad Street, Suite 4000, Richmond, Virginia 23219, and may be viewed for
a fee on the internet at the Court’s website (https://www.vaeb.uscourts.gov) by following the
directions for accessing the ECF system on such website.




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Dated: January 17, 2019          /s/ Michael A. Condyles
Richmond, Virginia               Michael A. Condyles, Esq. (VA 27807)
                                 Peter J. Barrett, Esq. (VA 46179)
                                 Jeremy S. Williams, Esq. (VA 77469)
                                 Brian H. Richardson, Esq. (VA 92477)
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                                 901 East Byrd Street, Suite 1000
                                 Richmond, Virginia 23219-4071
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                                           Peter.Barrett@KutakRock.com
                                           Jeremy.Williams@KutakRock.com
                                           Brian.Richardson@KutakRock.com
                                 -and-

                                 Dennis F. Dunne, Esq. (pro hac vice pending)
                                 Evan R. Fleck, Esq. (pro hac vice pending)
                                 Michael W. Price, Esq. (pro hac vice pending)
                                 MILBANK, TWEED, HADLEY & MCCLOY LLP
                                 28 Liberty Street
                                 New York, New York 10005
                                 Telephone:     (212) 530-5000
                                 Facsimile:     (212) 530-5219
                                 Email: ddunne@milbank.com
                                          efleck@milbank.com
                                          mprice@milbank.com

                                 Proposed Co-Counsel for Debtors in Possession




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                                    Schedule 1

Counterparty        Counterparty          Title/Description of   Cure Costs
                    Address               Contract/Lease
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                                     Exhibit 3

                                    Sale Notice




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Dennis F. Dunne, Esq. (pro hac vice pending)                      Michael A. Condyles, Esq. (VA 27807)
Evan R. Fleck, Esq. (pro hac vice pending)                        Peter J. Barrett, Esq. (VA 46179)
Michael W. Price, Esq. (pro hac vice pending)                     Jeremy S. Williams, Esq. (VA 77469)
MILBANK, TWEED, HADLEY & MCCLOY LLP                               Brian H. Richardson, Esq. (VA 92477)
28 Liberty Street                                                 KUTAK ROCK LLP
New York, New York 10005                                          901 East Byrd Street, Suite 1000
Telephone:     (212) 530-5000                                     Richmond, Virginia 23219-4071
Facsimile:     (212) 530-5219                                     Telephone:      (804) 644-1700
                                                                  Facsimile:      (804) 783-6192
Proposed Co-Counsel for Debtors in Possession



                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                  RICHMOND DIVISION

                                                              )
In re:                                                        )        Chapter 11
                                                              )
GYMBOREE GROUP, INC., et al., 1                               )        Case No. 19-30258 (KLP)
                                                              )
                          Debtors.                            )        (Joint Administration Requested)
                                                              )
                                                              )

         NOTICE OF SALE, BID PROCEDURES, AUCTION, SALE OBJECTION,
           SALE HEARING AND OTHER DEADLINES RELATED THERETO

PLEASE TAKE NOTICE OF THE FOLLOWING:

        1.       On _________, 2019, the United States Bankruptcy Court for the Eastern District
of Virginia (the “Court”) entered an Order (the “Bidding Procedures Order”) authorizing certain
procedures (the “Bidding Procedures”) to be used in connection with the sale(s) (the “Sale(s)”)
of the assets (the “Assets”) of the above-captioned debtors (the “Debtors”).

        2.     Copies of the Bidding Procedures Order and the Bidding Procedures may be
obtained free of charge at the website dedicated to the Debtors’ chapter 11 cases maintained by
their claims and noticing agent, Prime Clerk LLC (http://cases.primeclerk.com/gym). Copies of
these documents are also available for inspection during regular business hours at the Office of

1
         The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
         number, are: Gymboree Group, Inc. (6587); Gymboree Intermediate Corporation (1473); Gymboree
         Holding Corporation (0315); Gymboree Wholesale, Inc. (6588); Gym-Mark, Inc. (6459); Gymboree
         Operations, Inc. (6463); Gymboree Distribution, Inc. (8669); Gymboree Manufacturing, Inc. (6464);
         Gymboree Retail Stores, LLC (6461); Gym-Card, LLC (5720); and Gymboree Island, LLC (1215). The
         Debtors’ service address is 71 Stevenson Street, Suite 2200, San Francisco, California 94105.
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the Clerk of the Court, located at 701 East Broad Street, Suite 4000, Richmond, Virginia 23219,
and may be viewed for a fee on the internet at the Court’s website
(https://www.vaeb.uscourts.gov) by following the directions for accessing the ECF system on
such website.

       3.       On March 4, 2019 at [_:__] [a/p].m. (prevailing Eastern Time), a hearing (the
“Sale Hearing”) will take place before the Honorable Keith L. Phillips, United States Bankruptcy
Judge, 701 East Broad Street, Suite 4000, Richmond, Virginia 23219, where the Debtors will
present for the Court’s approval one or more bid(s) for the Assets (each, a “Successful Bid”).
The Debtors will have accepted the terms of any Successful Bid only when such bid has been
approved by the Court.

        4.      Pursuant to the Bidding Procedures Order, written preliminary indications of
interest (each, a “Proposal”) are to be submitted no later than January 25, 2019 at 5:00 p.m.
(prevailing Eastern Time) to the following parties: (i) the Debtors, The Gymboree Group, 71
Stevenson Street, Suite 2200, San Francisco, California, 94105 (Attn: Kimberly H. MacMillan);
(ii) counsel for the Debtors, (a) Milbank, Tweed, Hadley & McCloy LLP, 28 Liberty Street, New
York, New York, 10005 (Attn: Dennis F. Dunne, Esq. (ddunne@milbank.com), Evan R. Fleck,
Esq. (efleck@milbank.com), and Michael W. Price, Esq. (mprice@milbank.com)) and (b) Kutak
Rock LLP, 901 East Byrd Street, Suite 1000, Richmond, Virginia 23219 (Attn: Michael A.
Condyles,       Esq.    (michael.condyles@kutakrock.com),       Peter   J.    Barrett,    Esq.
(peter.barrett@kutakrock.com), Jeremy S. Williams, Esq. (jeremy.williams@kutakrock.com),
and Brian H. Richardson, Esq. (brian.richardson@kutakrock.com); and (iii) the Debtors’
investment banker, Miller Buckfire, 787 7th Avenue, 5th Floor, New York, New York 10019
(Attn: James Doak (james.doak@millerbuckfire.com)) (collectively, the “Bid Notice Parties”).

       5.     To be eligible to participate in the bidding process for any or all Assets, a
Prospective Bidder shall deliver to the Bid Notice Parties: (i) an executed confidentiality
agreement, in form and substance satisfactory to the Debtors; (ii) a statement and other factual
support demonstrating to the Debtors’ reasonable satisfaction that the Prospective Bidder has a
bona fide interest in purchasing the specified Assets; and (iii) preliminary proof of the
Prospective Bidder’s financial capacity to close the proposed Sale.

        6.      Any party that intends to participate in the Auction (each, a “Prospective Bidder”)
shall submit its final, binding bid (a “Final Bid”) in writing to the Bid Notice Parties on or before
February 11, 2019 at 11:59 p.m. (prevailing Eastern Time) (the “Final Bid Deadline”);
provided that the Debtors shall have the discretion to extend the Final Bid Deadline for any
Prospective Bidder so long as such extended deadline does not exceed the applicable milestone
for such deadline under the DIP Loan Agreement (as defined in the DIP Orders). Any bid
received after the Final Bid Deadline will not constitute a Qualified Bid.

        7.     If the Debtors receive more than one Qualified Bid for any of the Assets, the
Debtors shall conduct the Auction. The Auction, if required, shall be conducted at the offices of
Milbank, Tweed, Hadley & McCloy LLP, 55 Hudson Yards, New York, New York 10001 on
February 25, 2019 at:_____ [a.m./p.m.] (prevailing Eastern Time), or at such other time and
location as designated by the Debtors; provided that the Auction shall not be rescheduled for a



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date that is beyond the outside date or milestone for the Auction set forth in the DIP Loan
Documents (as defined in the DIP Orders).

        8.      If the Debtors receive no more than one Qualified Bid (as defined in the Bidding
Procedures) with respect to any of the Assets, the Debtors may determine, in their reasonable
discretion, not to hold an auction for such Assets and instead declare such Qualified Bid(s) as the
Successful Bid(s) for such Assets and request that the Court approve the applicable Asset
Purchase Agreement at the Sale Hearing.

        9.     Pursuant to the Bidding Procedures Order, the Debtors may, as they deem
necessary and appropriate in the prudent exercise of their business judgment, accept Stalking
Horse Bid(s) and execute Stalking Horse Agreement(s) for some or all of the Assets (except for
the Assets to be purchased under the J&J Stalking Horse Agreement (the “SSIG Assets”), which
is already subject to a stalking horse agreement). If that occurs, the Debtors will file a motion
(each, a “Stalking Horse Motion”) seeking approval of such Stalking Horse Agreement,
including any bid protections provided therein. Subject to the Court’s availability, but no earlier
than ten days after filing a Stalking Horse Motion, and no later than the Sale Hearing, the
Debtors will seek approval from the Court on an expedited basis of such Stalking Horse
Agreement(s) and any bid protections contained therein.

         10.     Objections to a Sale, including any objection to the sale of any Assets free and
clear of liens, claims, interests, and encumbrances pursuant to section 363(f) of the Bankruptcy
Code (each, a “Sale Objection”), and to entry of an order approving any Sale(s) (the “Sale
Order”) shall (i) be in writing and specify the nature of such objection; (ii) comply with the
Bankruptcy Code, Bankruptcy Rules, Local Bankruptcy Rules, and all orders of the Court; and
(iii) be filed with the Court and served on: (i) the Debtors, The Gymboree Group, 71 Stevenson
Street, Suite 2200, San Francisco, California, 94105 (Attn: Kimberly H. MacMillan, Esq.);
(ii) counsel for the Debtors, (a) Milbank, Tweed, Hadley & McCloy LLP, 28 Liberty Street, New
York, New York, 10005 (Attn: Dennis F. Dunne, Esq. (ddunne@milbank.com), Evan R. Fleck,
Esq. (efleck@milbank.com), and Michael W. Price, Esq. (mprice@milbank.com)) and (b) Kutak
Rock LLP, 901 East Byrd Street, Suite 1000, Richmond, Virginia 23219 (Attn: Michael A.
Condyles,       Esq.     (michael.condyles@kutakrock.com),         Peter    J.    Barrett,    Esq.
(peter.barrett@kutakrock.com), Jeremy S. Williams, Esq. (jeremy.williams@kutakrock.com),
and Brian H. Richardson, Esq. (brian.richardson@kutakrock.com); (iii) counsel for the official
committee of unsecured creditors appointed in the Debtors’ cases, if any; (vii) counsel (if
applicable) of any Stalking Horse Bidder(s); (viii) counsel (if applicable) of any Successful
Bidder(s); (ix) counsel (if applicable) of any Backup Bidder(s); and (x) the Office of the United
States Trustee for the Eastern District of Virginia, (collectively, the “Objection Recipients”) by
February 15, 2019 at 5:00 p.m. (prevailing Eastern Time).

       11.    All Sale Objections not resolved by the parties prior thereto shall be heard at the
Sale Hearing. THE FAILURE OF ANY PARTY TO TIMELY FILE WITH THE COURT
AND SERVE ON THE OBJECTION RECIPIENTS A SALE OBJECTION FOREVER
SHALL BAR SUCH PARTY FROM ASSERTING, AT THE SALE HEARING OR
THEREAFTER, ANY OBJECTION TO THE RELIEF REQUESTED IN THE MOTION,
OR TO THE CONSUMMATION AND PERFORMANCE OF THE SALE(S) TO
SUCCESSFUL BIDDER(S), INCLUDING THE TRANSFER OF THE ASSETS FREE


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AND CLEAR OF ALL LIENS, CLAIMS, INTERESTS, AND ENCUMBRANCES
PURSUANT TO SECTION 363(F) OF THE BANKRUPTCY CODE. Notwithstanding the
foregoing, the deadline to file an objection to the proposed assumption and assignment of any
executory contract or unexpired lease in connection with a Sale, based on a Successful Bidder’s
proposed form of adequate assurance of future performance under such contract or lease, shall be
two days prior to the Sale Hearing.

        12.    The Debtors’ presentation to the Court for approval of a Successful Bid does not
constitute the Debtors’ acceptance of such bid. The Debtors will have accepted the terms of a
Successful Bid only when such bid has been approved by the Court.

        13.     This Notice is subject to the full terms and conditions set forth in the Bidding
Procedures Order and the Bidding Procedures. To the extent set forth in the Bidding Procedures,
the Debtors reserve the right to, in their reasonable discretion, modify the Bidding Procedures at
any time, including, without limitation, to extend deadlines and proposed dates set forth therein,
including extending the Final Bid Deadline, changing the date of the Auction, and adjourning
and/or rescheduling the Sale Hearing; provided that the Debtors may not amend the Bidding
Procedures to (a) reduce or otherwise modify their obligations to consult with any Consultation
Party (as defined in the Bidding Procedures) without the consent of such Consultation Party or
further Court Order, (b) reduce or otherwise modify their obligations to obtain consent from the
DIP Lender or the Pre-Petition First Lien Lender, as applicable or (c) provide for any extensions
of deadlines, other modifications of the Bidding Procedures or acceptance of any bid which limit
the rights set out in or the protections provided to the DIP Agent, the DIP Lender and the Pre-
Petition First Lien Lender as set forth in the DIP Orders, the DIP Loan Documents or the Pre-
Petition First Lien Documents, or are inconsistent with the Debtors’ agreements and obligations
thereunder, in each case without the prior written consent of the Pre-Petition First Lien Lender or
the DIP Agent or the DIP Lender, as applicable.

        14.   Parties interested in receiving additional information about the Debtors, the
Bidding Procedures, the Sale(s), the Assets, or the Auction may make requests to the Debtors’
investment banker, Miller Buckfire, 787 7th Avenue, 5th Floor, New York, New York 10019
(Attn: James Doak (james.doak@millerbuckfire.com)).

        15.    The Debtors have provided notice of this Motion simultaneously to all parties on
the Service List who have also received the Notice of Commencement [Docket No. ___],
consistent with the notice procedures therein.



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Dated: January 17, 2019          /s/ Michael A. Condyles
Richmond, Virginia               Michael A. Condyles, Esq. (VA 27807)
                                 Peter J. Barrett, Esq. (VA 46179)
                                 Jeremy S. Williams, Esq. (VA 77469)
                                 Brian H. Richardson, Esq. (VA 92477)
                                 KUTAK ROCK LLP
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                                           Jeremy.Williams@KutakRock.com
                                           Brian.Richardson@KutakRock.com
                                 -and-

                                 Dennis F. Dunne, Esq. (pro hac vice pending)
                                 Evan R. Fleck, Esq. (pro hac vice pending)
                                 Michael W. Price, Esq. (pro hac vice pending)
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                                 Facsimile:     (212) 530-5219
                                 Email: ddunne@milbank.com
                                          efleck@milbank.com
                                          mprice@milbank.com

                                 Proposed Co-Counsel for Debtors in Possession




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                                     Exhibit 1

                                Purchase Agreement
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                                     Exhibit 2

                                    Cure Costs
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                                     Exhibit 3

                             Notice of Sale Closing Date
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                                     Exhibit C

                                 Doak Declaration
